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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Vecinos para el Bienestar de la Comunidad )
Costera                                   )
                                          )
            Petitioner,                   )
                                          )               No. 23-1222
      v.                                  )
                                          )
Federal Energy Regulatory                 )
Commission,                               )
                                          )
            Respondent.                   )
                                          )
____________________________________)

                           PETITION FOR REVIEW

      Pursuant to Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b),

Federal Rule of Appellate Procedure 15, and Circuit Rule 15, Vecinos para el

Bienestar de la Comunidad Costera hereby petitions the United States Court of

Appeals for the District of Columbia Circuit for review of the following order of

the Federal Energy Regulatory Commission (“Commission”):

   1. Order on Remand, Texas LNG Brownsville LLC, 183 FERC ¶ 61,047 (Apr.

      21, 2023).

A copy of the order is attached. This is the same order challenged in City of Port

Isabel v. FERC, Case No. 23-1175 (D.C. Cir.).

      Petitioner was an intervenor in the Commission proceedings
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below. Petitioner timely filed a request for rehearing of the Order on Remand,

which was denied by operation of law on June 22, 2023. Thus, this Court has

jurisdiction to review the Order on Remand pursuant to 15 U.S.C. § 717r(b).

      This petition for review is timely filed within 60 days of the Commission’s

denial of rehearing in accordance with 15 U.S.C. § 717r(b).

Dated: August 17, 2023

                                             Respectfully submitted,


                                             /s/ Thomas Gosselin
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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Vecinos para el Bienestar de la Comunidad )
Costera                                   )
                                          )
            Petitioner,                   )
                                          )              No. _________
      v.                                  )
                                          )
Federal Energy Regulatory                 )
Commission,                               )
                                          )
            Respondent.                   )
                                          )
____________________________________)

                  PETITIONER’S RULE 26.1 STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioner makes the following disclosures:

      Vecinos para el Bienestar de la Comunidad Costera: Vecinos para el

Bienestar de la Comunidad Costera (“Vecinos”) has no parent companies and there

are no publicly held companies that have a 10 percent or greater ownership interest

in Vecinos.
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      Vecinos, an association organized and existing under the laws of the State of

Texas, is an unincorporated nonprofit association dedicated to protecting and

improving the health, standard of living, and economic development of the coastal

community in the Rio Grande Valley of South Texas.

Dated: August 17, 2023




                                             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify under penalty of perjury that on August 17, 2023, I served a

copy of the foregoing Petition for Review and Corporate Disclosure Statement by

email on the following parties, including all members of the service list in FERC

Docket Nos. CP16-116.

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                                       183 FERC ¶ 61,047
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Texas LNG Brownsville LLC                                         Docket No. CP16-116-002

                                           ORDER ON REMAND

                                           (Issued April 21, 2023)

                 The United States Court of Appeals for the District of Columbia Circuit (D.C.
         Circuit)1 remanded the Commission’s orders authorizing Texas LNG Brownsville LLC’s
         (Texas LNG) construction and operation of the Texas LNG Project,2 directing the
         Commission to (1) explain whether 40 C.F.R. § 1502.21(c) calls for [the Commission] to
         apply the social cost of carbon protocol or some other analytical framework, as ‘generally
         accepted in the scientific community’ within the meaning of the regulation, and if not,
         why not;”3 and (2) “explain why it chose to analyze the projects’ impacts only on
         [environmental justice] communities in census blocks within two miles of the project
         sites, or else analyze the projects’ impacts on [environmental justice] communities within
         a different radius of each project site.”4 Further, the court directed the Commission to
         revisit its public interest determination under section 3 of the Natural Gas Act (NGA).5



               1
                 Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021) (Vecinos).
               2
                  Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (Authorization Order),
         order on reh’g, Texas LNG Brownsville LLC, 170 FERC ¶ 61,139 (2020) (Rehearing
         Order). The D.C. Circuit also remanded, in the same opinion, the Commission’s
         authorization for Rio Grande LNG, LLC to construct and operate an LNG terminal and
         pipeline, which the Commission addressed in a separate order issued concurrently.
         Rio Grande LNG, LLC, 183 FERC ¶ 61,046 (2023).
               3
                   Vecinos, 6 F.4th at 1330.
               4
                   Id. at 1331.
               5
                   Vecinos, 6 F.4th at 1331-32.
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                We supplement our environmental analysis of the Texas LNG Project by
         (1) addressing the argument regarding the social cost of carbon and 40 C.F.R.
         § 1502.21(c); and (2) updating our analysis of the project’s environmental justice impacts
         consistent with the Commission’s current practice. We reaffirm that the Texas LNG
         Project, as conditioned in the Order Granting Authorization Under Section 3 of the NGA
         (Authorization Order)6 and as modified herein, is not inconsistent with the public
         interest.7

        I.      Background

                Texas LNG, a limited liability company organized under the laws of Delaware
         with its headquarters in Houston, Texas, is a single purpose subsidiary of
         Texas LNG LLC. As its operations will not be in interstate commerce, Texas LNG will
         not be a natural gas company as defined in the NGA,8 although it will be subject to the
         Commission’s jurisdiction under NGA section 3.

                A.       Authorization Order

                On November 22, 2019, the Commission authorized Texas LNG to construct and
         operate a liquefied natural gas (LNG) export terminal and associated facilities in order to
         export approximately 4 million metric tonnes per annum (MTPA) of natural gas as LNG.9
         The project will be sited on 625 acres of land10 and include two full-containment LNG


                6
                    Authorization Order, 169 FERC ¶ 61,130.
                7
                    See id. PP 21, 86.
                8
                   Section 2(6) of the NGA defines a natural gas company to be a person engaged
         in the transportation of natural gas in interstate commerce. 15 U.S.C. § 717a(6).
                9
                  On September 24, 2015, Texas LNG received authorization from the Department
         of Energy, Office of Fossil Energy (DOE) to export the project’s full capacity, which is
         equivalent to 204.4 billion cubic feet (Bcf) annually (approximately 0.56 Bcf per
         day (Bcf/d)) equivalent of natural gas, in the form of LNG to countries with which the
         United States has a Free Trade Agreement (FTA). Texas LNG Brownsville LNG,
         DOE/FE Docket No. 15-62-LNG, Order No. 3716 (Sept. 24, 2015),
         https://www.energy.gov/sites/prod/files/2015/09/f26/ord3716.pdf. On February 10,
         2020, DOE issued an order authorizing Texas LNG to export LNG to non-FTA nations,
         but with which the U.S. still permits such trade. Texas LNG Brownsville LNG, DOE/FE
         Docket No. 15-62-LNG; Order No. 4489 (Feb. 10, 2020)
         https://www.energy.gov/sites/prod/files/2020/02/f71/ord4489.pdf.
                10
                     Of the 625 acres, about 312 acres would be disturbed for construction of the
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         storage tanks with a capacity of approximately 210,000 cubic meters of LNG each; two
         liquefaction trains, each with a capacity of 2.0 MTPA of LNG;11 a single LNG carrier
         berth; mooring and loading facilities; and other appurtenant facilities.12 The terminal will
         receive natural gas via an approximately 10.2-mile-long non-jurisdictional intrastate
         natural gas pipeline that would interconnect with the Valley Crossing Pipeline.13 To date,
         Texas LNG has not begun construction of any facilities.

                 The Commission determined, based on the findings in the final Environmental
         Impact Statement (EIS) for the project,14 that the project’s direct and indirect impacts on
         environmental resources would be temporary or reduced to less-than-significant levels by
         the implementation of appropriate mitigation measures, with the exception of impacts on
         visual resources where the project would result in significant impacts when viewed from
         the Laguna Atascosa National Wildlife Refuge.15 In addition, the final EIS concluded
         that the Texas LNG Project, combined with other projects in the relevant geographic
         scope, would result in significant cumulative impacts: from sediment/turbidity and
         shoreline erosion within the Brownsville Ship Channel during operations from vessel
         transits;16 on the federally listed ocelot and jaguarundi, from habitat loss and potential for
         increased vehicular strikes during construction;17 on the federally listed aplomado falcon,
         from habitat loss;18 and on visual resources from the presence of aboveground



         project facilities. Authorization Order, 169 FERC ¶ 61,130 at P 54.
                11
                 While each liquefaction train will have a nameplate capacity of 2.25 MTPA,
         Texas LNG anticipates that as operated, each train will produce approximately 2.0 MTPA
         of LNG for export. Id. at n.5 (citing Application at 4, n.8).
                12
                     Id. P 5.
                13
                  The Valley Crossing Pipeline is a non-jurisdictional natural gas pipeline that
         extends southwest from a header system near the Agua Dulce natural gas hub in Nueces
         County, Texas, to a jurisdictional border-crossing facility east of Cameron County,
         Texas. See Valley Crossing Pipeline, LLC, 161 FERC ¶ 61,084, at P 4 (2017).
                14
                     The Texas LNG final EIS was issued on March 15, 2019.
                15
                     Final EIS at 4-115.
                16
                     Id. at 4-303.
                17
                     Id. at 4-317.
                18
                     Id. at 4-318.
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         structures.19 The final EIS noted that the Commission could not determine the project’s
         impacts on the environment caused by GHG emissions nor could it determine the
         significance of the project’s contribution to climate change.20 The final EIS found that
         neither the construction nor operation of the project would result in disproportionately
         high or adverse environmental and human health impacts on environmental justice
         communities.21 The Commission agreed with the conclusions presented in the final EIS
         and found that the project, if constructed and operated as described in the final EIS, is an
         environmentally acceptable action.22

                B.        Rehearing Order

                 On December 23, 2019, Sierra Club and seven other petitioners jointly23 sought
         rehearing of the Authorization Order. Sierra Club raised numerous concerns, including,
         air quality impacts, environmental justice impacts, mitigation measures, greenhouse gas
         emissions, and the Commission’s public interest determination. Specifically, Sierra Club
         stated that the Commission violated NEPA by failing to take a hard look at whether
         environmental justice communities will bear a disproportionate share of the negative
         environmental consequences from the project.24 Sierra Club also asserted that the
         Commission’s conclusions regarding its inability to determine whether the project’s GHG
         emissions and contribution to climate change were significant and its reasoning as to why
         it would not use the social cost of carbon protocol to assess the impacts from the project’s
         GHG emissions were arbitrary.25

                On February 21, 2020, the Commission denied rehearing. The Commission
         affirmed the Authorization Order’s decision to not calculate or apply the social cost of



                19
                     Id. at 4-327.
                20
                     Id. at 4-344.
                21
                     Id. at 4-156 to 4-157.
                22
                     Authorization Order, 169 FERC ¶ 61,130 at P 86
                23
                 Specifically, Sierra Club, Texas Rio Grande Legal Aid, Save RGV from LGV,
         Defenders of Wildlife, the City of South Padre Island, the City of Port Isabel, and the
         Town of Laguna Vista (collectively, Sierra Club) filed a request for rehearing.
                24
                     Sierra Club Request for Rehearing and Stay at 14-22.
                25
                     Id. at 27.
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         carbon protocol.26 The Commission concluded that the final EIS adequately identified
         and addressed impacts on environmental justice communities,27 and reaffirmed the
         conclusion from the final EIS and Authorization Order that there would not be any
         disproportionately high or adverse environmental and human health impacts on those
         communities.28 Subsequently, Sierra Club petitioned for review of the Authorization and
         Rehearing Orders in the D.C. Circuit.

                C.       The Court’s Remand Order

                On August 3, 2021, the D.C. Circuit remanded the Authorization and Rehearing
         Orders, holding that the Commission’s NEPA analyses of the project’s impacts on
         climate change and environmental justice communities were deficient under the
         Administrative Procedures Act (APA), and thus, the Commission “must also revisit its
         determinations of public interest and convenience under Sections 3 and 7 of the NGA.”29
         Specifically, the court held that the Commission failed to address the petitioners’
         argument concerning the applicability of the Council on Environmental Quality’s (CEQ)
         regulations with respect to whether the social cost of carbon protocol is “generally
         accepted” analytical tool for assessing the significance of GHG impacts, thereby
         rendering the analysis of the project’s GHG emissions deficient.30 The court directed the
         Commission on remand to: “explain whether 40 C.F.R. § 1502.21(c) calls for [the
         Commission] to apply the social cost of carbon protocol or some other analytical
         framework, as ‘generally accepted in the scientific community’ within the meaning of the
         regulation, and if not, why not.”31



                26
                     Rehearing Order, 170 FERC ¶ 61,139 at PP 72-74.
                27
                     Id. P 40.
                28
                     Id. PP 45, 47.
                29
                     Vecinos, 6 F.4th at 1331.
                30
                     Id. at 1329.
                31
                  Id. at 1329-30. Section 1502.21(c) provides that “[i]f . . . information relevant
         to reasonably foreseeable significant adverse impacts cannot be obtained because . . . the
         means to obtain it are not known, the agency shall include within the environmental
         impact statement . . . [t]he agency’s evaluation of such impacts based upon theoretical
         approaches or research methods generally accepted in the scientific community.”
         40 C.F.R § 1502.21(c) (2022). In its 2020 rulemaking, CEQ redesignated § 1502.22,
         “Incomplete or unavailable information” as § 1502.21 in the final rule.
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                 The court also held that the Commission’s decision to limit its environmental
         justice analysis of the project’s impacts to those affecting communities in census blocks
         within two miles of the project sites was arbitrary,32 given that the EIS had determined
         that certain environmental effects of the project would extend beyond that radius
         (e.g., the court noted that air quality impacts could occur within a radius of 31 miles).33
         The court directed the Commission on remand to explain why it chose to analyze the
         project’s impacts only on communities within a two-mile radius, or, in the alternative, to
         analyze the project’s impacts on communities within a different radius from the project
         site, and determine whether the Commission’s environmental justice conclusion still
         holds.34 Additionally, because the Commission’s analyses of the project’s impacts on
         climate change and environmental justice communities were deficient, the court directed
         the Commission to revisit its NGA public interest and public convenience and necessity
         determinations.35

         II.    Procedural Issues

                On February 3, August 16, August 31, and October 28, 2022, and on January 6,
         2023, Commission staff issued environmental information requests to Texas LNG
         regarding environmental justice communities, visual impacts, air quality modeling, and
         emergency planning, in order to address deficiencies noted in the D.C. Circuit’s decision.
         Texas LNG responded to Commission staff’s information requests on March 4, May 2,
         September 15, September 21, October 3, and November 7, 2022, and on January 30, and
         February 23, 2023.

               On September 30, 2022, the Commission issued a notice seeking public comments
         on Texas LNG’s responses. The notice stipulated that initial comments were due no later
         than October 21, 2022, and reply comments no later than November 4, 2022.

                 Numerous comments were filed during the initial comment period, including:
         (1) statements in general opposition to or support for the project; (2) assertions of
         deficiencies in Texas LNG’s responses, including the revised air modeling; (3) concerns
         with project impacts on environmental justice communities, including the air quality
         impacts of volatile organic compounds (VOC) and particulate matter on those
         communities, inadequate outreach to environmental justice communities, and insufficient
         information provided on the impacts of offsite parking locations and Texas LNG’s

                32
                     Vecinos, 6 F.4th at 1331.
                33
                     Id. at 1330.
                34
                     Id. at 1331.
                35
                     Id.
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         Emergency Response Plan; (4) concerns regarding climate change and GHGs; and
         (5) requests for public meetings in a town hall format with Spanish language translation
         and for all permit documents to be translated into the Spanish language. These comments
         are addressed below.

                On November 4, 2022, Texas LNG and American Petroleum Institute submitted
         reply comments requesting a prompt ruling on the remanded issues. As we are issuing
         this order, the requests are moot.

                As noted, commenters requested that the Commission hold public meetings in a
         town hall format.36 Commenters also requested that the Commission provide greater
         access to Spanish-speaking communities by providing Spanish language translation at
         any public meetings and provide a translated version of the Commission’s requests for
         information and the comments and responses to the information requests from
         Texas LNG.37

                In this proceeding, and consistent with how the Commission has processed other
         remand orders,38 we reviewed the record to determine whether the deficiencies identified
         by the court could be redressed and what, if any, additional information would be helpful.
         This order addresses the particular issues identified by the court on remand.39 Although
         the public had opportunities for involvement during the prefiling and environmental
         review processes associated with the Commission’s original consideration of the
         project,40 during this remand proceeding the Commission provided additional

               36
               See Sierra Club Oct. 19, 2022 Comments at 3-4; Nancy McNab Oct. 21, 2022
         Comments at 1.
               37
                    See Sierra Club Oct. 19, 2022 Comments at 3-4.
               38
                  See Spire STL Pipeline LLC, 181 FERC ¶ 61,232, at PP 18-20 (2022)
         (determining the record was sufficient to allow the Commission to address the issues
         on remand without additional requested briefing); on reh’g, Spire STL Pipeline LLC,
         183 FERC ¶ 31,048 (2023); NEXUS Gas Transmission, LLC, 172 FERC ¶ 61,199 (2020)
         (reviewing the record and the court’s instructions on remand to issue a certificate of
         convenience and public necessity without soliciting additional comments).
               39
                  See, e.g., SFPP, L.P. v. FERC, 967 F.3d 788, 797 (D.C. Cir. 2020), cert.
         dismissed, 141 S. Ct. 2170 (2021) (finding that on remand it is up to the Commission to
         determine if the record should be reopened).
               40
                  See Final EIS at 4-468. As the final EIS notes, the applicant provided materials
         regarding the project in both English and Spanish and Spanish-speaking representatives
         were present at both the public scoping and comment meetings held in Port Isabel.
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         opportunities for the public to comment and respond to information filed by Texas LNG
         related to the issues before us on remand. As stated above, on September 30, 2022, we
         explicitly solicited comments on the responses provided by Texas LNG to Commission
         staff’s information requests and received over 100 comments. We have considered and
         responded to all comments within the scope of this remand proceeding and, therefore,
         because the record is sufficient for us to address the issues identified by the court, we
         decline to hold additional public meetings on the remanded issues. As for requests
         related to Spanish translation of documents, while we are not providing such translations
         in this proceeding, the Commission continues to consider how we can provide greater
         accessibility to our processes for non-English speaking populations.

                 Commenters also raised issues that are outside the scope of the court’s mandate,
         generally falling within the following categories: (1) opposition to the Texas LNG
         Project; (2) general comments in support of the projects and requests for regulatory
         clarity; (3) cultural resource concerns, including concerns relating to consultation with
         Tribes; (4) biological resource concerns, including impacts on endangered species,
         wildlife and wildlife habitat, migratory birds, and coastal resources; and (5) general
         statements about the Commission, LNG, and energy infrastructure. Mr. John Young also
         questions whether Texas LNG has obtained feedgas from the Valley Crossing Pipeline
         and whether the Valley Crossing Pipeline operates as an intrastate natural gas pipeline.41
         The Commission will not address these arguments because the Commission considered
         them in the Authorization and Rehearing Orders42 and the court’s remand was limited to
         two issues—whether the social cost of GHG or similar protocol should be used and the
         scope of the Commission’s environmental justice analysis—and they thus are collateral
         attacks on those orders and need not be considered further.43




                41
                     Mr. John Young November 12, 2021 Comments at 5, 6.
                42
                   See Authorization Order, 169 FERC ¶ 61,130 at PP 18-21 (making a finding that
         the project is in the public interest); Final EIS at 4-160 (addressing concerns raised by the
         Carrizo Comecrudo Tribe of Texas); Authorization Order, 169 FERC ¶ 61,130 at PP 42-
         48 (discussing the impacts on wildlife, migratory birds, and aquatic resources);
         Authorization Order, 169 FERC ¶ 61,130 at P 4 (noting that Valley Crossing is not a
         jurisdictional pipeline).
                43
                  See, e.g., Fla. Se. Connection, 162 FERC ¶ 61,233, at P 16 (2018) (declining to
         consider issues that fell outside the scope of the court’s mandate); Arlington Storage Co.,
         LLC, 149 FERC ¶ 61,158 (2015) (rejecting a request for rehearing of a notice to proceed
         with construction as a collateral attack on the underlying orders).
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         III.   Discussion

                As discussed above, the D.C. Circuit remanded the Commission’s orders
         authorizing the Texas LNG Project and directed the Commission to (1) address the
         argument of whether it must, under CEQ’s regulations, apply the social cost of GHG to
         analyze the project’s impacts on climate change, and (2) explain the decision to limit the
         scope of its environmental justice analysis of the project’s impacts to those communities
         within two miles of the project or else analyze the project’s impacts within a different
         radius. In response to the court’s directive, we address the argument regarding the social
         cost of carbon and 40 C.F.R. § 1502.21(c), as well as update our analysis of the project’s
         environmental justice impacts consistent with the Commission’s current practice and with
         CEQ44 and the U.S. Environmental Protection Agency (EPA) guidance.45

                A.       Greenhouse Gas Emissions and Climate Change

                The court directed the Commission, on remand, to explain whether
         section 1502.21(c) of CEQ’s NEPA-implementing regulations requires the Commission
         to “apply the social cost of carbon protocol or some other analytical framework, as
         ‘generally accepted in the scientific community’ within the meaning of the regulation,
         and if not, why not.”46

                Section 1502.21(c) of CEQ’s regulations requires that,

                         [i]f the information relevant to reasonably foreseeable
                         significant adverse impacts cannot be obtained because the
                         overall costs of obtaining it are unreasonable or the means to
                         obtain it are not known, the agency shall include within the
                         environmental impact statement:




                44
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                45
                  See generally EPA, Promising Practices for EJ Methodologies in NEPA
         Reviews (Mar. 2016) (Promising
         Practices), https://www.epa.gov/sites/default/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
                46
                     Vecinos, 6 F.4th at 1330 (quoting 40 C.F.R. § 1502.21(c)).
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                         (1) A statement that such information is incomplete or
                         unavailable;

                         (2) A statement of the relevance of the incomplete or
                         unavailable information to evaluating reasonably foreseeable
                         significant adverse impacts on the human environment;

                         (3) A summary of existing credible scientific evidence that is
                         relevant to evaluating the reasonably foreseeable significant
                         adverse impacts on the human environment; and

                         (4) The agency’s evaluation of such impacts based upon
                         theoretical approaches or research methods generally
                         accepted in the scientific community.47

                The social cost of carbon protocol, now updated to calculate the social cost of
         specific GHGs,48 is an administrative tool intended to quantify, in dollars, estimates of
         long-term damage that may result from future emissions of carbon dioxide, nitrous oxide,
         and methane. Accordingly, although we are including the social cost of GHG figures for
         informational purposes, we find that because the social cost of GHGs tool was not
         developed for project level review and, as discussed below, does not enable the
         Commission to credibly determine whether the GHG emissions are significant,
         section 1502.21 of the CEQ regulations does not require its use in this proceeding.

         While we have recognized in some past orders that social cost of GHGs may have utility
         in certain contexts such as rulemakings,49 we have also found that calculating the social
         cost of GHGs does not enable the Commission to determine credibly whether the
         reasonably foreseeable GHG emissions associated with a project are significant or not
         significant in terms of their impact on global climate change.50 Currently, however,

                47
                  40 C.F.R. § 1502.21(c). We pause to note that at the time the final EIS was
         prepared, this regulation was codified at 40 C.F.R. § 1502.22(b).
                48
                   The Interagency Working Group on the Social Cost of Greenhouse Gases
         (IWG) published its first estimates of the social cost of carbon in 2010, which calculated
         the cost of the damages created by one extra ton of carbon dioxide emissions. In 2016,
         the IWG published a technical update that included the social costs of methane (social
         cost of CH4) and nitrous oxide (social cost of N2O) thus creating the social cost of GHG
         nomenclature.
                49
                     Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
                50
                   See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017),
         aff’d sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
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        there are no criteria to identify what monetized values are significant for NEPA purposes,
        and we are currently unable to identify any such appropriate criteria.51 Nor are we aware
        of any other currently scientifically accepted method that would enable the Commission
        to determine the significance of reasonably foreseeable GHG emissions.52 The D.C.
        Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
        GHGs, including to assess significance.53

                For informational purposes, we are disclosing Commission staff’s estimate of the
         social cost of GHGs associated with the reasonably foreseeable emissions from the
         project, i.e., the emissions from the construction and operation of the project.54



         Riverkeeper v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
         merely converts GHG emissions estimates into a range of dollar-denominated figures; it
         does not, in itself, provide a mechanism or standard for judging “significance.”
               51
                    Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
         Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
         at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271, 2019 WL
         847199, at 2 (D.C. Cir. Feb. 19, 2019) (unpublished) (“[The Commission] gave several
         reasons why it believed petitioners’ preferred metric, the Social Cost of Carbon tool, is
         not an appropriate measure of project-level climate change impacts and their significance
         under NEPA or the Natural Gas Act. That is all that is required for NEPA
         purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
         Commission’s explanation why the social cost of carbon tool would not be appropriate or
         informative for project-specific review, including because “there are no established
         criteria identifying the monetized values that are to be considered significant for NEPA
         purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); See,
         e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14; Columbia Gulf Transmission, LLC,
         180 FERC ¶ 61,206, at P 91 (2022).
               52
                    See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14 (“there are currently no
         criteria to identify what monetized values are significant for NEPA purposes, and we are
         currently unable to identify any such appropriate criteria.”)
               53
                   See, e.g., EarthReports, 828 F.3d at 956 (upholding the Commission’s decision
         not to use the social cost of carbon tool due to a lack of standardized criteria or
         methodologies, among other things); Del. Riverkeeper v. FERC, 45 F.4th 104 (also
         upholding the Commission’s decision not to use the social cost of carbon); Appalachian
         Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019) (same).
               54
                    See Vecinos, 6 F.4th at 1329-30.
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                Commission staff calculated the social cost of GHGs based on methods and values
         contained in the Interagency Working Group on the Social Cost of Greenhouse Gases
         (IWG)’s current draft guidance but note that different values will result from the use of
         other methods.55

                For this proposed action, the reasonably foreseeable and causally connected GHG
         emissions are those associated with the project’s construction and operation. Based on its
         filed emissions data, Texas LNG estimated that construction of the Texas LNG Project
         would result in 122,048 tons of carbon dioxide equivalent (CO2e) emissions (equivalent
         to 110,720 metric tons of CO2e) over the six years of construction, inclusive of terminal,
         barge, and commissioning emissions.56 GHG emissions from the operation of the Texas
         LNG Project would result in annual CO2e emissions of about 701,709 tons per year (tpy)
         (equivalent to 636,580 metric tpy),57 which calculation assumes 100% utilization; i.e., it
         is assumed that the facilities are operated at maximum capacity for 365 days/year,
         24 hours/day.58

                Commission staff calculated the social cost of carbon dioxide, nitrous oxide, and
         methane for the construction and operation of the Texas LNG Project. For the
         calculations, staff assumed discount rates of 5%, 3%, and 2.5%,59 the project would begin

                55
                  Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
         Oxide Interim Estimates under Executive Order 13990, Interagency Working Group on
         Social Cost of Greenhouse Gases, United States Government, (Feb. 2021),
         https://www.whitehouse.gov/wp-content/uploads/2021/02/TechnicalSupportDocument_
         SocialCostofCarbonMethaneNitrousOxide.pdf (accessed Dec. 14, 2022) (IWG Interim
         Estimates Technical Support Document).
                56
                  Texas LNG Mar. 4, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at attach. 9-1.
                57
                  Texas LNG May 2, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at attach. 9-1. The Texas LNG Project will be constructed and begin operation
         in two phases, the first phase operational emissions would be 433,227 tons of CO2e
         emissions (equivalent to 393,017 metric tons of CO2e) in 2026 and 2027. Id.
                58
                   Id. The estimate also includes fugitive emissions. We note that this calculation
         is an overestimate because facilities likely operate at full capacity during, what are
         typically, limited periods of full demand.
                59
                   IWG Interim Estimates Technical Support Document at 24. To quantify the
         potential damages associated with estimated emissions, the IWG methodology applies
         consumption discount rates to estimated emissions costs. The IWG’s discount rates are a
         function of the rate of economic growth where higher growth scenarios lead to higher
         discount rates. For example, IWG’s method includes the 2.5% discount rate to address
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        construction activities in 2023, and that once construction activities are complete,
        emissions would transition to operational emissions. Noting these assumptions, the
        emissions from construction and operation of the Texas LNG Project are calculated
        to result in a total social cost of GHGs equal to $215,011,202, $697,367,480, and
        $1,013,421,544, respectively (all in 2020 dollars).60 Based on the 95th percentile
        of the social cost of GHGs and the three percent discount rate,61 the total social cost
        of GHGs from the project is calculated to be $2,022,865,531 (in 2020 dollars).

                The Commission has disclosed the project’s reasonably foreseeable GHG
         emissions. By adopting the analysis in the final EIS, we recognize that the project’s
         contributions to GHG emissions globally contributes incrementally to future climate
         change impacts,62 including impacts in the region.63 We note that there currently are no
         accepted tools or methods for the Commission to use to determine significance, therefore
         Commission is not herein characterizing these emissions as significant or insignificant.64
         Accordingly, we have taken the required “hard look” and have satisfied our obligations
         under NEPA.


        the concern that interest rates are highly uncertain over time; the 3% value to be
        consistent with Office of Management and Budget Circular A-4 (2003) and the real rate
        of return on 10-year Treasury Securities from the prior 30 years (1973 through 2002); and
        the 5% discount rate to represent the possibility that climate-related damages may be
        positively correlated with market returns. Thus, higher discount rates further discount
        future impacts based on estimated economic growth. Values based on lower discount
        rates are consistent with studies of discounting approaches relevant for intergenerational
        analysis. Id. at 18-19, 23-24.
                60
                     The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (Table ES-I).
                61
                   This value represents “higher-than-expected economic impacts from climate
         change further out in the tails of the [social cost of CO2] distribution.” Id. at 11. In other
         words, it represents a higher impact scenario with a lower probability of occurring.
                62
                     Final EIS at 4-342 to 4-344.
                63
                     Id. (discussing observations from the Fourth Assessment Report).
                64
                  The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022) which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended, and opened to further public
         comment. Certification of New Interstate Nat. Gas Facilities, 178 FERC ¶ 61,197, at P 2
         (2022).
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                B.       Environmental Justice

                 The court found the Commission’s analysis of environmental justice impacts to be
         deficient, directing the Commission on remand to either explain why it chose to analyze
         the projects’ impacts only on communities within a two-mile-radius area of review, or, in
         the alternative, to analyze the projects’ impacts on communities in an area of review with
         a different radius from each project site and determine whether the Commission’s
         environmental justice conclusion still holds.65 Accordingly, on remand, Commission
         staff conducted a new environmental justice analysis using our current methods for
         determining an area of review, consistent with CEQ66 and EPA67 guidance and
         recommendations, and analyzed the project’s impacts on environmental justice
         communities within those areas. Below, Commission staff has identified the presence of
         impacted environmental justice communities and has analyzed associated impacts from
         the Texas LNG Project.
                In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows Executive Order 12898, which directs federal agencies to identify and address
         “disproportionately high and adverse human health or environmental effects” of their
         actions on minority and low-income populations (i.e., environmental justice
         communities).68 Executive Order 14008 also directs agencies to develop “programs,
         policies, and activities to address the disproportionately high and adverse human health,
         environmental, climate-related and other cumulative impacts on disadvantaged


                65
                     Vecinos, 6 F.4th at 1331.
                66
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                67
                 See generally Promising Practices https://www.epa.gov/sites/default/files/2016-
         08/ documents/nepa_promising_practices_ document_2016.pdf.
                68
                   Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
         Commission is not one of the specified agencies in Executive Order 12898, the
         Commission nonetheless addresses environmental justice in its analysis, in accordance
         with our governing regulations and guidance, and statutory duties. See 15 U.S.C. § 717b;
         see also 18 C.F.R. § 380.12(g) (2022) (requiring applicants for projects involving
         significant aboveground facilities to submit information about the socioeconomic impact
         area of a project for the Commission’s consideration during NEPA review); FERC
         Guidance Manual for Environmental Report Preparation at 4-76 to 4-80 (Feb. 2017),
         https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.
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        communities, as well as the accompanying economic challenges of such impacts.”69
        Environmental justice is “the fair treatment and meaningful involvement of all people
        regardless of race, color, national origin, or income with respect to the development,
        implementation, and enforcement of environmental laws, regulations, and policies.”70
                Consistent with CEQ and EPA guidance and recommendations, the Commission’s
         methodology for assessing environmental justice impacts considers: (1) whether
         environmental justice communities (e.g., minority or low-income populations)71 exist in
         the project area; (2) whether impacts on environmental justice communities are
         disproportionately high and adverse; and (3) possible mitigation measures.72 Consistent
         with the Commission’s current methodology for identification of environmental justice

               69
                   Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Feb. 1, 2021). The term
         “environmental justice community” includes disadvantaged communities that have been
         historically marginalized and overburdened by pollution. Id. at 7629. The term also
         includes, but may not be limited to minority populations, low-income populations, or
         indigenous peoples. See EPA, EJ 2020 Glossary (Aug. 18, 2022),
         https://www.epa.gov/environmentaljustice/ej-2020-glossary.
               70
                   EPA, Learn About Environmental Justice,
         https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6,
         2022). Fair treatment means that no group of people should bear a disproportionate share
         of the negative environmental consequences resulting from industrial, governmental, and
         commercial operations or policies. Id. Meaningful involvement of potentially affected
         environmental justice community residents means: (1) people have an appropriate
         opportunity to participate in decisions about a proposed activity that may affect their
         environment and/or health; (2) the public’s contributions can influence the regulatory
         agency’s decision; (3) community concerns will be considered in the decision-making
         process; and (4) decision-makers will seek out and facilitate the involvement of those
         potentially affected. Id.
               71
                  See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
         Minority populations are those groups that include: American Indian or Alaskan Native;
         Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
               72
                   CEQ offers recommendations on how federal agencies can provide
         opportunities for effective community participation in the NEPA process, including
         identifying potential effects and mitigation measures in consultation with affected
         communities and improving the accessibility of public meetings, crucial documents, and
         notices. There were opportunities for public involvement during the Commission’s
         prefiling and environmental review processes. Final EIS at 1-10 to 1-13, and 4-333. In
         addition, the Commission requested public comment on responses to recent information
         requests related to the remand.
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        communities, staff reviewed the 2020 U.S. Census Bureau American Community survey
        data for the impact area surrounding the Texas LNG terminal project. As recommended
        in Promising Practices, the Commission uses the 50% and the meaningfully greater
        analysis methods to identify minority populations.73 Specifically, a minority population
        is present where either: (1) the aggregate minority population of the block groups in the
        affected area exceeds 50%; or (2) the aggregate minority population in the block group
        affected is 10% higher than the aggregate minority population percentage in the county.74

                 CEQ’s Environmental Justice Guidance also directs low-income populations to be
         identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
         Using Promising Practices’ low-income threshold criteria method, low-income
         populations are identified as block groups where the percent of a low-income population
         in the identified block group is equal to or greater than that of the county.

                 To identify potential environmental justice communities, Commission staff used
         2020 U.S. Census American Community Survey data75 for the race, ethnicity, and
         poverty data at the state, county, and block group level.76 Additionally, in accordance
         with Promising Practices, Commission staff used EJScreen, EPA’s environmental justice
         mapping and screening tool, as an initial step to gather information regarding minority
         and low-income populations; potential environmental quality issues; environmental and
         demographic indicators; and other important factors. Appendix B provides current
         environmental justice community data for the areas affected by the project, including data
         for the affected block groups, state, and county and maps detailing the affected block
         groups in relation to the Texas LNG Project.

                 Commission staff collected the block group level data, as discussed in further
         detail below, and conducted an impacts analysis for the identified environmental justice
         communities and evaluated health and environmental hazards; the natural physical

               73
                    See Promising Practices at 21-25.
               74
                  Here, we selected Cameron and Willacy Counties, Texas as the comparable
         reference communities to ensure that affected environmental justice communities are
         properly identified.
               75
                  U.S. Census Bureau, American Community Survey 2020 ACS 5-Year Estimates
         Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by Household Type
         by Age of Householder, https://data.census.gov/cedsci/table?q=B17017; File #B03002
         Hispanic or Latino Origin By Race, https://data.census.gov/cedsci/table?q=b03002.
               76
                  Appendix B includes the data used to inform this environmental justice analysis.
         Table 1 of Appendix B includes block groups within the 50-kilometer radius of the
         project.
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        environment; and associated social, economic, and cultural factors to determine whether
        impacts would be disproportionately high and adverse on environmental justice
        communities and also whether those impacts would be significant.77 Commission staff
        assessed whether those impacts on an environmental justice community are
        disproportionately high and adverse, consistent with EPA’s recommendations in
        Promising Practices.78

                 As discussed above, the court’s opinion explained that an agency’s environmental
         justice analysis must have an area of review for impacts on environmental justice
         communities that is reasonable and adequately explained, with a rational connection
         between the facts and the decision made.79 In response, Commission staff has reanalyzed
         the project’s impacts on environmental justice communities within an area of review
         based on the measured distance of the furthest estimated direct impact.
                Commission staff determined that the furthest potential direct impact for this
         project is air quality impacts. A 50-kilometer radius around the project represents a
         conservative estimate of the furthest possible extent of potential impacts associated with
         air quality.80 Accordingly, staff determined that a 50-kilometer radius (approximately
         31-mile radius) around the approved Texas LNG site is the appropriate geographic area
         of analysis for identification of project impacts on environmental justice communities.
         Further, air modeling for the project indicates that the radius of impact, or the distance at
         which the concentration of a criteria pollutant goes from above to below the significant
         impact level81 is approximately 24 kilometers (approximately 15 miles), which is within

                77
                  See Promising Practices at 33 (stating that “an agency may determine that
         impacts are disproportionately high and adverse, but not significant within the meaning
         of NEPA” and in other circumstances “an agency may determine that an impact is both
         disproportionately high and adverse and significant within the meaning of NEPA”).
                78
                   Id. at 44-46 (explaining that there are various approaches to determining
         whether an action will cause a disproportionately high and adverse impact, and that one
         recommended approach is to consider whether an impact would be “predominantly borne
         by minority populations or low-income populations”). We recognize that EPA and CEQ
         are in the process of updating their guidance regarding environmental justice and we will
         review and incorporate that anticipated guidance in our future analysis, as appropriate.
                79
                     Vecinos, 6 F.4th at 1330.
                80
                  Fifty kilometers is the distance used by the EPA for cumulative air modeling for
         major stationary sources under its Prevention of Significant Deterioration (PSD) air
         permitting requirements. 40 C.F.R. pt. 51, app. W.
                81
                  A modeled result predicting that a proposed source’s maximum impact will be
         below the corresponding significant impact level value may generally be considered to be
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        the 50-kilometer radius of analysis for impacts on environmental justice communities.82
                Within a 50-kilometer radius of the Texas LNG Project, there are 284 total census
         block groups and, out of this total, Commission staff identified 279 environmental justice
         community block groups. Of those 279 environmental justice block groups, 124 have a
         minority population that exceeds 50% or is meaningfully greater than their respective
         counties, one has a low-income population that is equal to or greater than their respective
         counties, and 154 have both a minority population and a low-income population that
         exceed the respective thresholds.83 The Texas LNG Project itself is located within an
         environmental justice community.
                 This order includes an updated analysis of impacts on environmental justice
         communities using an expanded radius. In reviewing the data, Commission staff
         determined that potential impacts on the identified environmental justice communities
         may relate to wetlands, recreational fishing, tourism, socioeconomics, traffic, noise,
         safety, air quality, greenhouse gases, and visual resources. Environmental justice
         concerns are not present for other resource areas such as geology, groundwater, surface
         water,84 wildlife, land use, or cultural resources, because the project would have a
         minimal impact on these resources. The applicable topics, and related mitigation
         measures, are covered below.
                         1.     Wetlands

                The final EIS documents that the total impacted wetland area for the Texas LNG
         Project (42.9 acres) represents about 0.07% of the approximately 65,495 acres of
         wetlands contained within the hydrologic unit code (HUC) 12 where the project is
         located.85 The loss of wetland habitat, and the subsequent decrease in wetland benefits

         a sufficient demonstration that the proposed source will not cause or contribute to a
         violation of the applicable National Ambient Air Quality Standard or Prevention of
         Significant Deterioration increment.
                82
                     See infra PP 67-78.
                83
                     App. B tbl. 1.
                84
                  The final EIS determined that increased vessel traffic along the Brownsville
         Ship Channel would result in a significant cumulative impact on surface water resources
         during operations from increases in turbidity and shoreline erosion. Final EIS at 4-304.
         Impacts on environmental justice communities associated with turbidity are discussed
         below in Section III.B.4, Tourism. Impacts on environmental justice communities
         associated with shoreline erosion are discussed below in Section III.B.7, Marine Traffic.
                85
                     Bahia Grande-BSC Hydrological Unit Code (HUC) 12 Watershed.
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        (i.e., shoreline and habitat protection for a variety of plant and animal species that can be
        used for recreation and/or sustenance, and education opportunities), could affect
        environmental justice communities near the watershed, in which the project is located,86
        particularly the communities in Census Tract 142.02, Block Group 2 and Census
        Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
        123.05, Block Group 1, because these communities are closest to the impacts and as the
        distance from the project increases, the impacts on wetlands decreases.87 We note that
        Texas LNG is required to obtain applicable U.S. Army Corps of Engineers (Army Corps)
        Clean Water Act permits for permanent loss of wetland habitat and implement any
        mitigation measures required by the Army Corps for that loss.88

                All wetlands mitigation for the project would take place at the Loma Ecological
         Preserve, a preserve located one mile south of the project and within the same watershed
         as the project.89 Based on the foregoing analysis, we conclude that, with implementation
         of these mitigation measures, impacts on wetlands would be minimized and would not
         have a significant impact on environmental justice communities.

                Environmental justice communities in the study area would experience cumulative
         impacts on wetlands due to impacts previously discussed along with additional impacts
         from the additional projects within the cumulative geographic scope for wetlands.90
         Wetland impacts, even with the addition of the Texas LNG Project, would be less than
         significant91 and all impacts from the various projects with the geographic scope for
         wetlands would be appropriately mitigated through implementation of the Clean Water
         Act permits (state and federal). Thus, overall cumulative wetland impacts on
         environmental justice communities would be less than significant.




               86
                    Final EIS at 4-31.
               87
                    App. B Fig. 5-1-1 to 5-2-15.
               88
                    Final EIS at 4-35 to 4-36.
               89
                    Id.
               90
                    Id. at 4-274.
               91
                    Id. at 4-37.
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                         2.      Recreational and Subsistence Fishing

                 As stated in the final EIS, construction and operation of the project could
         cause some local anglers to use undesignated areas further from the project site.92
         Texas LNG’s proposed pile driving could cause fish to temporarily leave the area,
         altering behavior patterns of fish near the project, potentially affecting recreational
         fishing success.93 Given that a majority of the communities within the study area are
         environmental justice communities, recreational and subsistence fishing users of the area
         waterbodies likely include individuals from environmental justice communities,
         particularly the communities located in Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
         123.05, Block Group 1.94 Anglers using unknown and undesignated fishing areas near
         the project site would likely seek other fishing opportunities in the region.95 Construction
         activities at the Texas LNG Project site would not restrict fishing access to bays in the
         project area or the Gulf of Mexico. In addition, fishing opportunities exist along the
         remainder of the undeveloped channel shoreline. Permanent impacts on recreational and
         subsistence fishing by individuals from environmental justice communities may occur
         due to the loss of available fishing areas from the loss of approximately 1 mile of
         shoreline due to operation of the LNG marine facilities and loss of in-water fishing areas
         at certain times due to LNG carrier traffic. Overall, the final EIS concludes that impacts
         on recreational fishing as a result of the project are not anticipated to be significant.96
         Based on the foregoing analysis, we conclude that recreational and subsistence fishing
         impacts on environmental justice communities associated with construction and operation
         of the Texas LNG Project would occur, but due to the overall size of the waterway and
         existing alternative recreational and subsistence fishing opportunities in the area, we
         conclude impacts would be less than significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on fishing, including recreational and subsistence fishing due to fishing vessel
         traffic from the project along with additional impacts from the projects within the
         cumulative geographic scope for recreational and subsistence fishing.97 Based on the

                92
                     Id. at 4-153.
                93
                     Id. at 4-153.
                94
                     App. B Figs. 5-1-1 to 5-2-15.
                95
                     Id. at 4-153.
                96
                     Id. at 4-152.
                97
                     Id. at 4-274.
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        foregoing analysis, and due to the overall size of the waterway and existing alternative
        recreational and subsistence fishing opportunities in the area, we conclude that
        cumulative recreational and subsistence fishing impacts on environmental justice
        communities would be less than significant.

                            3.   Tourism

                Overall, the final EIS found that construction and operation of the project could
         impact local tourism as a result of increased noise, traffic along area roads, traffic within
         the Brownsville Ship Channel, as well as impacting visual resources in the area
         (primarily from the presence of the LNG aboveground structures in the viewshed).98
         Impacts on tourism may result in a loss of revenue or jobs for individuals from
         environmental justice communities. Noise during construction would likely be audible to
         boats passing through the Brownsville Ship Channel and could be audible to visitors
         within the South Bay Coastal Preserve, the closest designated recreation area to the
         project.99 The final EIS found that increased LNG vessel traffic during operation would
         have a permanent but minor impact on marine traffic in the Brownsville Ship Channel.100
         LNG carriers transiting the Brownsville Ship Channel could also result in delays for
         charter boats and sightseeing tours.101 Visual impacts on some nearby recreation areas,
         such as the Laguna Atascosa National Wildlife Refuge are anticipated to be significant.102
         Nevertheless, visual impacts are not anticipated to impact beach visitors, as the South
         Padre Island beaches face east towards the Gulf of Mexico, away from the project.103 In
         addition, view of the project facilities from many area beaches would likely be obstructed
         by hotels and condominiums along the South Padre Island shore.104 Visual impacts
         would affect charter boats and sightseeing tours transiting the Brownsville Ship Channel;
         however, it is anticipated that most recreational tours would be headed to the Laguna




                98
                     Id. at 4-152.
                99
                     Id. at 4-153.
                100
                      Id.
                101
                      Id.
                102
                      See infra PP 79–82.
                103
                      Final EIS at 4-153.
                104
                      Id.
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        Madre or the Gulf of Mexico and would not be operating primarily within the
        Brownsville Ship Channel.105

                 Given the number of tourism opportunities in the project area, tourists may go to
         other sites so that visitation patterns may change, but overall the number of visits to the
         project area would likely not change. Therefore, based on the foregoing analysis we
         conclude that impacts on environmental justice communities associated with tourism
         (e.g., loss of revenue or jobs related to tourism) would be less than significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on tourism from the Texas LNG Project,106 as previously described, along with
         additional impacts from the additional projects within the cumulative geographic scope
         for tourism.107 Cumulative impacts with the addition of those from the project would be
         less than significant,108 and, given the availability of tourism opportunities further from
         the LNG facility and the additional project sites, we conclude overall cumulative tourism
         impacts on environmental justice communities would be less than significant.

                            4.   Socioeconomics

                 As stated in the final EIS, construction of project would require an average
         monthly construction workforce of 700 workers, with a peak workforce of approximately
         1,312 workers, over the 5-year construction period; Texas LNG anticipates that a
         majority of these workers would be hired locally and the remainder would be non-
         local.109 Texas LNG anticipates that 110 non-local workers would be employed at the
         Texas LNG Project during operation. These additional workers would represent a
         negligible increase in the local population.110

                During construction and operation, the temporary influx of workers/contractors
         into the area could increase the demand for community services, such as schools, police




                105
                      Id. at 4-153 to 4-154.
                106
                      Id. at 4-332 to 4-333.
                107
                      Id. at 4-274.
                108
                      Id. at 4-153 to 4-154.
                109
                      Id. at 4-143.
                110
                      Id.
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        enforcement, and medical care, as well as housing.111 As stated in the final EIS, impacts
        on community services would be less than significant.112 In addition, an adequate
        number of housing units are available in the affected area; therefore, impacts on the local
        housing market would be less than significant.113 Based on the foregoing analysis we
        conclude socioeconomic impacts on environmental justice communities, due to an
        increased demand for community services and housing, would be less than significant.

                Environmental justice communities in the study area would experience cumulative
         impacts on socioeconomic resources from the Texas LNG Project, along with additional
         impacts from other projects within the cumulative geographic scope for socioeconomic
         resources.114 Cumulative socioeconomic impacts with the addition of the project would
         be less than significant.115 Given that community facilities would continue to operate
         adequately and the existing availability of housing units in the affected geographic area,
         we conclude cumulative socioeconomic impacts on environmental justice communities
         would be less than significant.

                           5.   Road Traffic

                The final EIS finds that area residents may be affected by roadway traffic delays
         during construction of the Texas LNG Project.116 The total number of construction
         vehicles arriving and departing the facility per day during Texas LNG’s proposed Phase 1
         and Phase 2 construction plans would be 1,220 and 1,000, respectively, with up to 1,454
         vehicles during peak construction of the project.117 Impacts on local users of the roadway
         network due to construction of the project include potential delays from increased traffic



               111
                     Id. at 4-146 to 4-148.
               112
                  Id. at 4-148. The final EIS also addresses impacts should Texas LNG hire
         more than 20% of its workforce from outside the local area. Id. at 4-146 to 4-147.
               113
                   Id. at 4-147. The number of vacant housing units has increased since issuance
         of the Final EIS. U.S. Census Bureau 2020 Decennial Census, File H1, Occupancy
         Status.
               114
                     Final EIS at 4-274.
               115
                     Id. at 4-329.
               116
                     Id. at 4-149.
               117
                     Id.
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        levels and diminished roadway capacity.118 These impacts would most likely affect
        environmental justice communities near the LNG terminal site, such as Census
        Tract 142.02, Block Group 2 and Census Tract 127, Block Group 2, Census Tract 123.04,
        Block Group 4, and Census Tract 123.05, Block Group 1.119

                To minimize impacts, Texas LNG proposes to construct an auxiliary lane by a
         contractor hired and paid for by Texas LNG prior to the start of construction, in order to
         minimize impacts on State Highway 48 users.120 In addition, to minimize roadway traffic
         and safety hazards at the project site, Texas LNG proposes to coordinate with the
         Cameron County Sheriff’s office to manually control the vehicle traffic during
         construction as a result of employees leaving the project site and turning left on State
         Highway 48.121

                 Sierra Club stated that the offsite parking locations impacts data provided by
         Texas LNG is inadequate.122 To ensure that parking location impacts data is adequately
         addressed and to further minimize impacts on roadway vehicle traffic associated with the
         project, Environmental Condition 22 of the Authorization Order required Texas LNG to
         file with the Commission a Traffic Management Plan prior to construction, for review
         and written approval by the Director of the Office of Energy Projects, that includes
         measures to minimize impacts on roadway traffic, including transporting workers from
         offsite locations via buses. Impacts on environmental justice communities will be
         evaluated as part of this approval.123

                 Based on Texas LNG’s proposed mitigation, including the construction of the
         auxiliary lane, and implementation of Environmental Condition 22, staff determined in
         the final EIS that the project would have moderate, but temporary impacts on roadway
         traffic.124 Therefore, based on the foregoing analysis we conclude traffic impacts on



               118
                     Id.
               119
                     App. B Figs. 5-1-1 to 5-2-15.
               120
                     Final EIS at 4-150.
               121
                     Id. at 4-149 to 4-150.
               122
                     Sierra Club Oct. 19, 2022 Comments at 13.
               123
                     Authorization Order, 169 FERC ¶ 61,130 at Env’t Condition 22.
               124
                     Id. at 4-150.
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        environmental justice communities, due to increased traffic on local roadways, would be
        less than significant.

               Environmental justice communities in the study area would experience cumulative
        impacts associated with roadway vehicle construction traffic from the Texas LNG
        Project, as previously described, along with additional impacts from other projects within
        the cumulative geographic scope for roadway traffic.125 As discussed above, impacts
        with the addition of the Texas LNG Project would be less than significant.126 Based on
        the foregoing analysis, we conclude overall cumulative roadway traffic impacts on
        environmental justice communities would be less than significant.

                            6.   Marine Traffic

                According to the final EIS, over the 5-year construction period for the project,
         Texas LNG anticipates about 109 barge deliveries with a peak of approximately three
         deliveries per day.127 Current vessel traffic in the Brownsville Ship Channel is about
         1,057 vessels per year,128 which equates to an average of about 88 vessels per month.129
         The additional barge deliveries trips associated with Texas LNG’s construction would
         represent an increase of about two percent in current barge traffic and would not result in
         significant impacts on vessel traffic in the channel.130 Therefore, based on the updated
         environmental justice analysis in response to the court remand, we conclude users of the
         channel from environmental justice communities would not be significantly impacted
         during construction.

                According to the final EIS, permanent increases in marine traffic within the
         Brownsville Ship Channel would occur with the addition of six LNG carriers per month;
         however, the U.S. Coast Guard has determined that the waterway is suitable for the
         project LNG vessel use.131 Based on the foregoing analysis, we conclude recreational
         boaters and fishers within the Brownsville Ship Channel, which include individuals from

                125
                      Id. at 4-274.
                126
                      Id. at 4-331.
                127
                      Final EIS at 4-150.
                128
                      This number does not include commercial and recreational fishing vessels.
                129
                      Id. at 4-150.
                130
                      Id. at 4-151.
                131
                      Id.
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        environmental justice communities, would not experience significant changes in marine
        traffic. Additionally, increased vessel traffic during construction and operation could
        increase shoreline erosion and suspended sediment concentrations due to changes in
        wave dynamics.132 Environmental justice communities in proximity to the project,
        particularly the communities in Census Tract 142.02, Block Group 2, Census Tract 127,
        Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract 123.05, Block
        Group 1,133 would be affected most by shoreline erosion and suspended sediment
        concentrations as they are located immediately adjacent to the Brownsville Ship Channel.
        Texas LNG would install rock armoring along the side slopes of the maneuvering basin
        to provide protection from propeller wash.134 Use of the waterways by LNG carriers,
        barges, and support vessels during construction and operation of the project would be
        consistent with the planned purpose and existing use of active shipping channels, and
        associated impacts on shoreline erosion and water quality from resuspension of sediments
        due to vessel traffic would not be significant.135

                Environmental justice communities in the study area would experience cumulative
         impacts associated with marine traffic from the Texas LNG Project, as previously
         described, along with additional impacts from other projects within the cumulative
         geographic scope for marine traffic.136 As discussed above, even with the addition of the
         Texas LNG Project, marine traffic impacts would be less than significant.137 Based on
         the foregoing analysis, we conclude overall cumulative marine traffic impacts on
         environmental justice communities would be less than significant.

                           7.   Noise

               As stated in the final EIS, noise levels resulting from construction of the
        Texas LNG Project would vary over time and would depend on the number and type of
        equipment in operation, operating conditions, and the distances between sources and
        receptors during construction.138 Texas LNG’s proposed pile driving, dredging, and

               132
                     Id. at 4-24.
               133
                     App. B Figs. 5-1-1 to 5-2-15.
               134
                     Final EIS at 4-24.
               135
                     Id.
               136
                     Id. at 4-274.
               137
                     Id. at 4-151.
               138
                     Id. at 4-192.
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        facility construction have the potential to produce noise impacts.139 The closest noise
        sensitive areas (NSA) to the Texas LNG Project terminal within environmental justice
        communities are: NSA 1, about 1.6 miles north-northeast of the project and includes the
        residential area located off of Port Road, between Industrial Drive and Bahia Drive;
        NSA 2, about 1.6 miles north-northeast of the project and includes residences in the
        Pirate’s Cove development, located off Port Road between Industrial Drive and Bahia
        Drive; and NSA 3, about 1.7 miles northeast of the project and includes the closest
        residences on the northwest end of West Scallop, located northeast of the project.140

                 The predicted sound levels at the identified NSAs during all project construction
         activities, except for the proposed pile-driving activities, were lower than the
         Commission’s noise standard of 55 decibels on the A-weighted scale (dBA) day-night
         sound level (Ldn).141 The human ear’s threshold of perception for noise change is
         considered to be 3 dBA; 6 dBA is clearly noticeable to the human ear; and 10 dBA is
         perceived as a doubling of noise.142 The increased sound from construction at NSA 1
         would not exceed the 3 dBA threshold for human perception of noise change and the
         increased sound from construction at NSAs 2 and 3 would be 6 decibels and 5.7 decibels,
         respectively, and therefore may be perceptible.143

                Pile driving would occur for approximately 13 months, with peak pile driving
        activities occurring over 4 months, and was calculated to produce Ldn 24-hour equivalent
        sound levels that are below the Commission’s noise criterion of 55 dBA at the nearest
        NSAs. The calculated maximum sound levels, or Lmax, of pile-driving (i.e., highest
        sound level during each hammer strike) would be similar to slightly above, the existing
        ambient noise levels. Although pile driving would be audible at nearby NSAs when
        ambient sound levels are low, Texas LNG would limit pile driving to only occur during
        daytime construction hours (typically 7 a.m. to 5 p.m.). The noise of pile-driving would
        be audible outside of residences, and potentially indoors in the homes closest to the
        project. Therefore, to ensure that impacts due to maximum pile driving noise levels at
        the project would be minimized, the Authorization Order requires Texas LNG to monitor

               139
                     Id.
               140
                     Id. at 4-189.
               141
                     Id. at 4-194.
               142
                   See Bies and Hansen, Engineering Noise Control: Theory and Practice at
         Table 2.1 (1988), https://www.semanticscholar.org/paper/ENGINEERING-NOISE-
         CONTROL%3A-Theory-and-Practice-Bies-
         Hansen/23a7741e61d5b42d7da770b857054a50f1380648 (last visited March 2023).
               143
                     Final EIS at 4-194.
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        sound levels during the start of pile-driving activities.144 If the sound levels due to pile-
        driving are greater than 10 dBA over the ambient sound levels, then Texas LNG is also
        required to cease that work, implement noise mitigation, and file evidence of reduced
        pile-driving sound levels.

                 Operational noise associated with the project would be persistent and would
         increase noise levels over ambient levels between 0.1 and 1.3 decibels at the closest
         NSAs.145 Based on these estimates, the noise increase generated by the operation of the
         Texas LNG Project is not likely to be perceptible at nearby NSAs within environmental
         justice communities. In addition, Environmental Conditions 25 and 26 of the
         Authorization Order require Texas LNG to meet the Commission’s sound level
         requirements. Based on the foregoing analysis, Texas LNG’s estimate that operation of
         the project will not exceed the 3 dBA threshold for human perception of noise change at
         the nearest NSAs, and given the Authorization Order’s conditions for measurement of
         construction and operational sound levels, we conclude the project would result in less
         than significant noise impacts on local residents and the surrounding communities,146
         including environmental justice populations.

                For simultaneous construction activities, the final EIS stated that the predicted
         sound level increase over the existing ambient ranges from 2.2 to 9.8 dBA Ldn at the
         NSAs and sound levels of slightly over 55 dBA Ldn are predicted for NSAs C2, C3,
         and C5,147 resulting in a minor to significant impact. For construction activities that are
         not simultaneous but incremental, the predicted sound level increase ranges from 1.0 to
         8.6 dBA Ldn at the NSAs. These increases would result in a minor to moderate impact;
         however, all levels would be below 55 dBA Ldn. For Palmito Ranch Battlefield,
         Calculation Point-1 (CP-1), the predicted cumulative construction increase was
         10.1 dBA Ldn over the existing ambient, resulting in a perceived doubling of loudness.
         For the Laguna Atascosa NWR, Calculation Point 2 (CP-2) there is a higher ambient
         sound level so the predicted increase due to cumulative construction noise would be 2.7
         dBA Ldn, resulting in a less than noticeable increase.148

               The final EIS concluded that environmental justice communities in the study area
         would experience cumulative impacts related to noise from operation of the Texas LNG

                144
                      Authorization Order, 169 FERC ¶ 61,130 at app. Env’t Condition 24.
                145
                      Final EIS at 4-197.
                146
                      Id. at 4-296.
                147
                      These NSAs are residences in proximity of the project. Id. at 4-346.
                148
                      Id. at 4-357.
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        Project, along with additional impacts from other projects within the cumulative
        geographic scope for noise.149 The final EIS showed that for operational noise with all
        projects fully operational, the predicted sound level impacts are much lower than
        construction impacts, with potential increases over the existing ambient of between 0.3
        and 1.5 dBA Ldn at NSAs, resulting in minor impacts. Operational impacts are slightly
        higher at two locations, the Palmito Ranch Battlefield, CP-1, and Laguna Atascosa
        NWR CP-2, with possible increases in sound levels due to operations of between 1.3 and
        4.8 dBA Ldn. This is generally considered a minor to moderate long-term impact.150
        Based on the foregoing analysis, we conclude that overall cumulative noise impacts on
        environmental justice communities during construction and operation would be less than
        significant.

                          8.     Safety

                The Energy Policy Act of 2005 amended the NGA to require Emergency
         Response Plans and Cost Sharing Plans to be developed by the LNG terminal operator.
         During an incident, response decisions would be made by local emergency responders
         according to conditions as they exist at that time at the facility and in offsite areas. While
         the company may provide advice regarding hazards and potential impacts to the public,
         the emergency responders direct all response tactics, evacuation, sheltering in place, and
         public notification through an Incident Command System.

               In order to further mitigate potential offsite risks,151 Environmental Conditions 36
         and 37 of the Authorization Order require Texas LNG to prepare an Emergency
         Response Plan and Cost Sharing Plan, to be approved by Commission staff before Texas
         LNG receives its final approval to begin construction.152 Texas LNG’s Emergency
         Response Plan is required to be developed in coordination with U.S. Coast Guard, state,
         county, and local emergency planning groups; fire departments; and state and local law
         enforcement. This ensures that Texas LNG works with the local emergency providers to

                149
                      Id. at 4-274.
                150
                      Id. at 4-356.
                151
                    The Emergency Response Plans are considered the last layer of protection in a
         series of layers of protection evaluated by Commission staff to mitigate potential offsite
         risks. An evaluation of all layers of protection and recommendations to enhance the
         effectiveness and reliability of those safety layers of protection are described in the
         original final Environmental Impact Statement. These recommendations were adopted as
         conditions in the Authorization Order.
                152
                   15 U.S.C. § 717b-1(e) (requiring an emergency response plan for any order
         authorizing an LNG terminal).
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        identify resource needs based on the hazards that could be present due to the facility. The
        result is pre-incident planning to establish procedures, training, and capabilities that
        would be available to the Incident Commander as they decide how best to address a
        specific incident.

                In response to Commission staff’s data requests,153 Texas LNG evaluated potential
         impacts from incidents identified along the LNG marine vessel transit route and at the
         LNG terminal,154 including potential impacts to people with access and functional needs
         as defined in the National Fire Protection Association (NFPA) 1600, Standard on
         Continuity, Emergency, and Crisis Management155 and NFPA 1616, Standard on Mass
         Evacuation, Sheltering, and Re-Entry Programs.156 Separately, Commission staff
         performed an independent analysis157 of potential safety impacts on environmental justice
         communities using conservative, worst-case distances in the modeling assumptions.158

                To ensure Texas LNG’s Emergency Response Plan incorporates any special
         considerations and pre-incident planning for infrastructure and public with access and
         functional needs, including environmental justice communities, and, at a minimum, is

               153
                  Commission staff Aug. 16, 2022 Data Request; Commission Staff Aug. 31,
         2022 Data Request.
               154
                  Texas LNG Sept. 15, 2022 Response to Commission staff Data Request; Texas
         LNG Sept. 21, 2022 Response to Commission staff Data Request; Texas LNG Oct. 10,
         2022 Response to Commission staff Data Request.
               155
                  The NFPA standards are free and publicly accessible to view in English and
         Spanish on the NFPA website. NFPA, NFPA 1600: Standard on Continuity,
         Emergency, and Crisis Management, https://www.nfpa.org/codes-and-standards/all-
         codes-and-standards/list-of-codes-and-standards/detail?code=1600.
               156
                  NFPA, NFPA 1616: Standard on Mass Evacuation, Sheltering, and Re-entry
         Programs, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1616.
               157
                 Appendix C includes additional discussion and details on Commission staff’s
         environmental justice safety analysis.
               158
                   The block groups located within environmental justice communities that
         exceed the thresholds for minority and low income would include Census Tract 142.02,
         Block Group 2, Census Tract 127, Block Group 2, Census Tract 123.04, Block Group 2,
         Census Tract 123.04, Block Group 4 (based on the minority and low-income thresholds);
         Census Tract 123.04, Block Group 3 (based on the minority threshold); and Census
         Tract 123.04 Block Group 1 (based on low-income threshold).
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        consistent with the recognized and generally accepted good engineering practices for
        evacuating and sheltering in place,159 we modify Environmental Conditions 36 and 37
        from the Authorization Order in Appendix A of this order. These modified conditions
        specify that Texas LNG’s emergency response and cost sharing considerations require
        the preparation of public education materials, including for environmental justice
        communities, that identifies potential hazards and impacts, steps for notification,
        proposed evacuation routes and shelter in place locations. The plan must also provide for
        first responder training, emergency command centers and equipment, and public
        communication methods and devices. These conditions also require that Texas LNG
        periodically disseminate public education materials and that they be made available in
        English and Spanish.

                 We also clarify our expectation that certain Emergency Response Plan information
         be provided as public information. While the Commission has long required that certain
         contents of the plan be subject to public disclosure, this has been previously interpreted to
         mean the plan could be filed requesting privileged or CEII treatment and that the public
         could access this information through Freedom of Information Act procedures. We
         clarify the intent is for project sponsors to file certain Emergency Response Plan
         information as public so that surrounding communities are informed about the possible
         steps that an Incident Commander may require regarding notification, evacuation, and
         sheltering in place.

                          9.     Air Quality

                As discussed in the final EIS, construction of the Texas LNG Project would
         impact air quality.160 The construction emissions are anticipated from operation of
         construction equipment, operation of the onsite concrete batch plants, deliveries of
         supplies by barge and truck, worker commutes, and land disturbance. Fugitive dust
         emissions would include contributions from general site construction work (a function of
         acreage impacted), earth-moving fugitive dust emissions (quantity of soil moved), and
         unpaved road travel (distance of travel and weight of vehicles). Fugitive dust would be
         produced primarily during the site preparation activities, when the site would be cleared
         of debris, leveled, and graded, including at proposed offsite facilities.161

               The final EIS determined that construction air emissions from the project, when
         considered with background concentrations, combined with staged emissions impacts

                159
                 See app. C at P 2 (citing NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470,
         and NFPA 475).
                160
                      Final EIS at 4-175.
                161
                      Id. at 4-175.
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        from commissioning, start-up, and operations of the project, could result in an
        exceedance of the NAAQS in the vicinity of the project for construction years when these
        emissions are taking place concurrently.162 Emissions from construction tend to be
        variable, depending primarily on the number, type, horsepower, and manufacture date of
        equipment, as well as the phase of construction. Construction emissions typically have a
        greater nearby impact due to the lower height of the exhaust, and the ground level
        emission from dust (as PM2.5 and PM10). Therefore, emissions from construction of the
        Texas LNG Project would be highly localized and have the largest impact within a short
        radius around the construction footprint, but would disperse at further distances. Because
        pollutant concentrations decrease with distance, the dispersal of Texas LNG’s
        construction emissions at the distance of the nearest residences (approximately 1.6 miles
        away)163 should not result in adverse impacts on air quality. But construction emissions
        could be elevated at recreational areas near the LNG terminal site, such as the Laguna
        Atascosa National Wildlife Refuge, which has a border approximately 200 feet north of
        the project.164

                 Texas LNG will implement the following mitigation measures to minimize
         construction impacts on air quality, including application of water to minimize fugitive
         dust, limiting engine idling, and using recent models of construction equipment
         manufactured to meet air quality standards.165 Fugitive dust emissions would be
         minimized by Texas LNG through implementation of the Fugitive Dust Control Plan
         developed for the project.166 Nevertheless, these fugitive dust emissions may still have an
         adverse impact, and may add to evaluated levels of PM2.5 and PM10 during periods where
         construction, commissioning, and operation are concurrent. Additionally, commissioning
         activities are not steady-state operations and they can have an increased emission
         intensity during start up.

                 Texas LNG plans to commission and begin operations on the first completed
         liquefaction facilities while it continues to construct the remaining facilities; the
         simultaneous construction, commissioning and start-up, and operations at the project will
         result in periods of overlapping construction and operational emissions. As a result,
         Commission staff cannot exclude the possibility of short term ambient emission
         concentrations of PM2.5, PM10, and NO2 at levels above the NAAQS at nearby public

               162
                     Id.
               163
                     Id. at 4-323.
               164
                     Id. at 4-56.
               165
                     Id. at 4-336.
               166
                     Id. at 4-178.
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        recreational areas, such as the Laguna Atascosa National Wildlife Refuge. As such, to
        prevent such occurrences and to ensure protection of air quality for these areas, we are
        requiring, in Environmental Condition 130 in Appendix A of this order that Texas LNG
        take action to ensure that concurrent emissions during construction, commissioning and
        start-up, and operation of terminal facilities would not exceed the NAAQS.

                 Prior to commissioning, Texas LNG shall prepare and file a Project Ambient Air
         Quality Mitigation and Monitoring Plan for reducing the air quality impacts of
         overlapping construction, commissioning, and terminal operations. Such plan could
         include measures such as revising construction and commissioning schedules to reduce
         impacts. Texas LNG shall also include how it will monitor 1-hour NO2, 24-hour PM10,
         and 24-hour PM2.5 during this period. The plan must describe the site selection process
         for installing air quality monitors, and include procedures for data management and
         reporting. This monitoring will ensure that the mitigation measures implemented are
         effective in keeping emissions below the NAAQS, as specified in 40 C.F.R. pt. 50
         (2022).

                Based on Commission staff’s updated environmental justice analysis, and the
         addition of Environmental Condition 130 in Appendix A of this order, we conclude that
         air quality impacts on environmental justice communities during construction of the
         Texas LNG Project would be less than significant.

                 The greatest potential for cumulative construction emissions impacts between
         Texas LNG and Rio Grande would be during years over overlapping construction.
         Simultaneous construction of the Rio Grande LNG and Texas LNG Terminals could
         result in a temporary, moderate to major increase in emissions of criteria pollutants in the
         immediate vicinity of the LNG terminal sites.167 In addition, transport of construction
         materials associated with the Rio Grande LNG and Texas LNG Terminals would
         cumulatively add to regional emissions.168 Both Texas LNG and Rio Grande would
         implement similar mitigation measures to minimize construction impacts. As noted
         above, construction emissions are localized, and impacts would be greatest in the
         immediate vicinity of the LNG terminal sites. During the time period when construction
         and operational activities at both facilities are taking place concurrently, there may be
         adverse impacts on air quality.169 Because pollutant concentrations would decrease with
         distance from the project site, concurrent emissions would be unlikely to adversely
         impact air quality in residential areas, which are located 1.6 miles away or further. As

                167
                 Id. at 4-336. We note that since issuance of the final EIS, the proposed
         Annova LNG Project, included in the cumulative impact analysis, is no longer proposed.
                168
                      Id.
                169
                      Final EIS at 4-269.
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        previously described, although residential areas would not likely experience adverse air
        quality impacts, individuals from environmental justice communities fishing or otherwise
        recreating near the terminal may experience adverse air quality impacts. As discussed
        above, we are requiring Texas LNG to prepare a Project Ambient Air Quality Monitoring
        and Mitigation Plan as Environmental Condition 130 in Appendix A of this order, and a
        similar plan for Rio Grande LNG; thus, we conclude that cumulative construction air
        quality impacts on environmental justice communities would be less than significant.

                 In order to assess the impact of operational emissions from the Texas LNG Project
         facility on the air quality in environmental justice communities, Commission staff
         requested that Texas LNG provide a cumulative air model of the emissions. In response,
         Texas LNG provided a cumulative model that included all emissions from the Texas
         LNG Project, including mobile ship emissions (LNG carrier, tugs, escort vessels),
         relevant regional monitoring ambient background data, and existing and proposed
         regional industrial major sources within 50 kilometers of the project’s fenceline
         boundary.170 This also includes emissions from the authorized Rio Grande LNG Project
         terminal and its associated vessel emissions. The model provided worst-case
         concentration scenarios that were then compared to the NAAQS.

                 Table 2 in Appendix B displays the results from the cumulative model (combined
         operation of Texas LNG terminal, LNG vessel, and tugboat sources), which represents
         the worst-case scenario resulting in the maximum possible emissions. Under this
         cumulative modeling assessment, the highest predicted concentrations for CO, NO2,
         PM2.5, PM10, and SO2were found to be below the NAAQS at all locations within 50
         kilometers of the Texas LNG facility.171 Although the Texas LNG Project would
         cumulatively add to existing background concentrations of criteria air pollutants within
         the regional airshed, the total concentration of background plus modeled emissions from
         sources within this 50-kilometer radius, including emissions from both the Texas LNG
         and Rio Grande LNG Project terminals, would remain under applicable NAAQS
         thresholds, which are meant to protect sensitive populations. In the final EIS,
         Commission staff analyzed the impact of emissions of ozone precursors—NOx and
         VOC—by comparing them to the analysis of ozone impacts for the Rio Grande LNG
         Project, whose projected emission of those precursors was ten times larger. The analysis
         for the Rio Grande LNG Project showed that the 8-hour maximum predicted increase in




               170
                 The background inventory data were obtained from Texas Commission on
         Environmental Quality.
               171
                 The modeling indicates that lead emissions are not a measurable amount and
         thus Commission staff omitted them from further analysis.
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        ozone concentration would not result in an exceedance of the 8-hour ozone NAAQS.172
        Because the Texas LNG Project would contribute less than 10% of the annual NOx
        emissions estimated for the Rio Grande LNG terminal, Commission staff concluded that
        the Texas LNG facility would also not result in a NAAQS exceedance for ozone.173
        Moreover, in order to analyze the cumulative impact of the proposed LNG facilities,
        Commission staff reasoned that if the maximum predicted increase of ozone
        concentration estimated for the Rio Grande LNG terminal is increased by 10% (to
        account for Texas LNG’s NOx emissions), the cumulative impact would remain below
        the 8-hour ozone NAAQS. We agree and conclude that there would not be a significant
        cumulative impact with respect to 8-hour ozone during operation of the facility.

                Both the Texas LNG and Rio Grande LNG Projects would be in compliance with
         the NAAQS during operations174 and the NAAQS are designated to protect sensitive
         populations.175 The operation of the projects when combined with the other projects
         within the cumulative geographic scope for air quality176 would not cause or contribute to
         a potential exceedance of the NAAQS on a regional or localized basis.177 Based on the


               172
                     Final EIS for Rio Grande LNG, Docket No. CP16-454-000, at 4-269.
               173
                     Final EIS at 4-339.
               174
                   Air quality modeling of criteria pollutants for both LNG terminals reviewed
         impacts on a regional and local scale and did not identify any areas of NAAQS thresholds
         exceedance that would be attributable to the LNG terminals. Texas LNG Jan. 30, 2023
         Response to Commission staff Jan. 6, 2023 Environmental Information Request at
         Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023 Response to Commission staff Jan. 6,
         2023 Environmental Information Request, Rio Grande LNG Project Air Dispersion
         Modeling Report.
               175
                   The combustion of natural gas produces the criteria pollutants regulated by
         NAAQS as well as volatile organic compounds including hazardous air pollutant
         chemicals known to cause health impacts. Final EIS at 4-163 to 4-164. The Texas LNG
         terminal is a minor source of hazardous air pollutants and is required to comply with
         certain general provisions for minor area sources under the Clean Air Act. The Rio
         Grande LNG facility is a major source of hazardous air pollutants and must comply with
         the Clean Air Act National Emission Standards for Hazardous Air Pollutants for
         stationary sources at the LNG terminal.
               176
                     Final EIS. at 4-274.
               177
                  Texas LNG Jan. 30, 2023 Response to Commission staff Jan. 6, 2023
         Environmental Information Request at Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023
         Response to Commission staff Jan. 6, 2023 Environmental Information Request, Rio
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        foregoing analysis, we conclude environmental justice communities would not
        experience significant air quality impacts during operation of the Texas LNG Project.

                Sierra Club commented on an air model filed by Texas LNG on August 16, 2022,
         questioning some of the emission data (for example, why Texas LNG’s estimates for the
         hoteling of LNG vessels was greater than the estimates for the maneuvering of LNG
         vessels).178 Commission staff requested, on February 3, 2022, Texas LNG to provide a
         model of emissions from the Texas LNG facility, but exclude the Rio Grande facility.
         On August 16, 2022, we further requested the Texas LNG to provide the impact of only
         Texas LNG (worst-case scenario) at each census block and to provide the worst-case
         modeled background concentrations for each census block. Sierra Club’s October 19,
         2022 comments relate to this model. Nevertheless, in order to analyze the impacts
         properly, Commission staff requested, on January 6, 2023, that Texas LNG work with
         Rio Grande LNG to provide a full cumulative model to determine the maximum
         concentrations attributable to the operation of the Rio Grande LNG Terminal and Texas
         LNG Terminal, and therefore a consistent methodology to assess the cumulative air
         quality impact, including background concentrations from mobile ship emissions and all
         other sources within 50 kilometers, from simultaneous operation of both terminals. .
         Texas LNG filed this model on January 30, 2023, and Commission staff relied on this
         updated model in its analysis above.

                Citizens filed comments about the risks of air pollution to communities populated
         by marginalized people and indigenous people. The analysis presented here addresses air
         quality impacts on environmental justice communities and on all communities within
         50 kilometers of the proposed facility. Commission staff concluded that there would be
         no significant impact on air quality from the proposed facility based on refined
         cumulative air modeling.

                          10.    Visual Impacts

                 Sierra Club commented that the Commission has not requested sufficient
         information to analyze the visual impacts of the Texas LNG Project. In fact, Commission
         staff conducted a comprehensive visual impacts analysis for the project during the
         preparation of the EIS for this project. As stated in the final EIS, the project site and
         adjoining lands along State Highway 48 are undeveloped and primarily comprised of
         open lands and tidal flats with isolated lomas (clay dunes).179 Impacts on visual resources
         may occur during construction of the LNG terminal when increased equipment, vehicles,

         Grande LNG Project Air Dispersion Modeling Report.
                178
                      Sierra Club Oct. 19, 2022 Comments at 7.
                179
                      Id. at 4-112.
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        soil disturbance, import of fill, and construction of the LNG terminal are visible to local
        residents and visitors, including individuals from environmental justice communities,180
        particularly the communities located in Census Tract 142.02, Block Group 2 and Census
        Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
        123.05, Block Group 1, which are closest to the project.181

                 Impact on visual resources would also occur during operation to the extent that
         facilities or portions of facilities and their lighting are visible to residents and visitors. 182
         Texas LNG assessed potential operational impacts on the viewshed and found that from
         five key observation points, including recreation areas, residential areas, and roadways,
         by producing visual simulations of the project facilities during the day, at night, and
         during flaring events.183 While the Texas LNG Project, especially the storage tanks and
         flares, would be visible from most of the key observation points located in environmental
         justice communities, it would generally not dominate the viewshed.184 Nevertheless, the
         Texas LNG Project would dominate the daytime and nighttime viewshed at State
         Highway 48 and at the Laguna Atascosa National Wildlife Refuge, and the project
         facilities would be prominent at the Loma Ecological Preserve, which are in
         environmental justice communities.185 The project facilities would also likely be visible
         from some residences in Port Isabel and South Padre Island, which are in environmental
         justice communities. South Padre Island, in particular, has numerous high-rise
         condominiums that would have views of the project facilities, especially from the higher
         floors.186 In addition to residences, the project facilities would be visible from
         sightseeing tours that operate within the Brownsville Ship Channel.187 As the
         Commission previously determined, due to the relatively undeveloped nature of the

                180
                      Id.
                181
                      App. B Figs. 5-1-1 to 5-2-15.
                182
                      Final EIS at 4-112.
                183
                      Id. at 4-115 to 4-118.
                184
                    Id. Key observation points include State Highway 48 (Laguna Atascosa
         National Wildlife Refuge), Port Isabel State Historic Site, Isla Blanca Park, Palo Alto
         Battlefield National Historic Park, and Palmito Ranch Battlefield National Historic
         Landmark.
                185
                      Id.
                186
                      Id. at 4-141.
                187
                      Id.
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        project area, the visual sensitivity of nearby recreation areas, and the inability to
        implement visual screening measures due to the size and scale of the proposed facility,
        the project would result in a significant impact on visual resources when viewed from the
        Laguna Atascosa National Wildlife Refuge, which is within an environmental justice
        community and would have a negligible to moderate impact on the other visual resources
        evaluated.188

                 Texas LNG would minimize visual impacts from lighting by implementing
         measures outlined in its Facility Lighting Plan, including shielding lights, using lights
         designed to minimize glare, and using timers and motion detection sensors where
         feasible.189 Several light reduction techniques would also be implemented including
         limiting the amount of outdoor lighting installed, dimming lights at night, and directing
         lights downward.190 Despite these mitigation measures, based on the location of the
         project facility and the foregoing analysis, we conclude visual impacts on environmental
         justice communities would be significant.

                As the Commission previously determined, the Texas LNG Project would result in
         temporary to permanent and negligible to significant impacts on the viewshed. Other
         projects constructed within the geographic scope Texas LNG Project would also
         contribute to cumulative impacts on the viewshed with the Texas LNG Project.191
         Consistent with the Commission’s earlier visual impacts analysis, we conclude that
         overall potential significant cumulative visual resources impacts, including on
         environmental justice communities, would occur, along with additional impacts from the
         projects within the cumulative geographic scope for visual resources.




               188
                     Id.
               189
                     Id. at 4-112.
               190
                     Id. at 4-199 to 4-200.
               191
                     Id. at 4-326 to 4-327.
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                      11.    Environmental Justice Conclusion

                As described in the final EIS, the Texas LNG Project will have a range of impacts
        on the environment and individuals living in the vicinity of the project facilities,
        including environmental justice communities. As detailed above, we revised the scope of
        our analysis to include analyses commensurate with the associated impact. Out of 284
        block groups identified within a 50-kilometer radius of the Texas LNG Project, 279 block
        groups were considered environmental justice communities. The closest environmental
        justice block groups are Census Tract 142.02, Block Group 2 and Census Tract 127,
        Block Group 2, and Census Tract 123.04, Block Group 4, which abut the Texas LNG
        Project terminal. These block groups would be the most impacted and impacts would
        diminish as the distance from the project increases. We have determined that certain
        impacts from construction and operation of the project would be disproportionately high
        and adverse, as impacts would be predominately borne by environmental justice
        communities. As concluded in the final EIS and above, environmental justice
        communities within the project area may experience significant project-related and
        cumulative visual impacts. Project-related impacts associated with wetlands, surface
        water, recreational and subsistence fishing, tourism, socioeconomics, traffic, noise, and
        air quality would be less than significant.

         IV.   Conclusion

                 In conformance with the court’s opinion, in this order on remand, we respond to
         the arguments pertaining to whether the use of the social cost of GHGs is required by
         CEQ’s regulations and disclose the social cost of GHG calculations for informational
         purposes, but, as discussed, we do not characterize the significance of the projects’ GHG
         emissions. Additionally, consistent with CEQ and EPA guidance, the Commission
         conducted a new environmental justice analysis with updated units of geographic analysis
         for assessing the project’s impacts on environmental justice communities. We conclude
         that the impacts on environmental justice populations from the project would be
         disproportionately high and adverse because they would be predominately borne by the
         environmental justice communities identified and, specifically, communities in the areas
         near the Texas LNG Project may experience significant visual impacts, as well as
         significant cumulative visual impacts; but that all other project-related impacts would be
         less than significant.

               We continue to find that the project, as conditioned in the Authorization Order and
         as modified herein, is an environmentally acceptable action.

               Further, as stated above, we continue to find that, under section 3 of the NGA, the
         Texas LNG Project is not inconsistent with the public interest.
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                Compliance with the environmental conditions appended to our orders is integral
         to ensuring that the environmental impacts of approved projects are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted. Only when satisfied that the applicant has complied with all
         applicable conditions will a notice to proceed with the activity to which the conditions are
         relevant be issued. We also note that the Commission has the authority to take whatever
         steps are necessary to ensure the protection of environmental resources during
         construction and operation of the project, including authority to impose any additional
         measures deemed necessary to ensure continued compliance with the intent of the
         conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
         environmental impacts resulting from project construction and operation.

                 Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this authorization. The
         Commission encourages cooperation between Texas LNG and local authorities.
         However, this does not mean that state and local agencies, through application of state or
         local laws, may prohibit or unreasonably delay the construction or operation of facilities
         approved by this Commission.192

                 At a hearing held on April 20, 2023, the Commission on its own motion received
         and made a part of the record in this proceeding all evidence, including the application,
         applicant data responses, and exhibits therein, and all comments, and upon consideration
         of the record,

         The Commission orders:

                (A) The Commission affirms its earlier determinations that the Texas LNG
         Project is not inconsistent with the public interest.

               (B) The authorization in Ordering Paragraph (A) is conditioned on Texas
         LNG’s compliance with the environmental conditions set forth in the appendix to the
         Authorization Order and Appendix A of this order




                192
                   See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted); Dominion Transmission,
         Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local
         regulation is preempted by the NGA to the extent it conflicts with federal regulation, or
         would delay the construction and operation of facilities approved by the Commission).
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                (C) Texas LNG shall notify the Commission’s environmental staff by telephone
         or e-mail of any environmental noncompliance identified by other federal, state, or local
         agencies on the same day that such agency notifies Texas LNG. Texas LNG shall file
         written confirmation of such notification with the Secretary of the Commission within 24
         hours.

         By the Commission. Commissioner Phillips is concurring with a separate statement
                            attached.
                            Commissioner Clements is dissenting with a separate statement
                            attached.

         (SEAL)




                                                      Debbie-Anne A. Reese,
                                                        Deputy Secretary.
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                                             Appendix A

                                       Texas LNG Project
                         Modified Environmental Conditions 36 and 37 and
                            Additional Environmental Condition 130


        Texas LNG shall continue to comply with the environmental conditions set forth in the
        appendix to the Commission’s Authorization Order, 169 FERC ¶ 61,130 (2019). In
        addition this order modifies conditions 36 and 37; and includes condition 130:

        36.   Prior to construction of final design, Texas LNG shall file with the Secretary,
              for review and approval by the Director of the Office of Energy Projects, or their
              designee, an Emergency Response Plan, including evacuation and any sheltering
              and re-entry, and coordinate procedures with the U.S. Coast Guard; state, county,
              and local emergency planning groups; fire departments; state and local law
              enforcement; and other appropriate federal agencies. This plan shall be consistent
              with recommended and good engineering practices, as defined in National Fire
              Protection Association (NFPA) 1600, NFPA 1616, NFPA 1620, NFPA 470,
              NFPA 475, or approved equivalents, and based on potential impacts and onsets of
              hazards from accidental and intentional events along the liquefied natural gas
              (LNG) marine vessel route and potential impacts and onset of hazards from
              accidental and intentional events at the LNG terminal, including but not limited to
              a catastrophic failure of the largest LNG tank. This plan shall address any special
              considerations and pre-incident planning for infrastructure and public with access
              and functional needs and shall include at a minimum:

              a.     materials and plans for periodic dissemination of public education and
                     training materials in English and Spanish for potential hazards and impacts,
                     identification of potential hazards, and steps for public notification,
                     evacuation, and shelter in place within any transient hazard areas along the
                     marine vessel route, and within LNG terminal hazard areas in the event of
                     an incident;

               b.    plans to competently train emergency responders required to effectively and
                     safely respond to hazardous material incidents including, but not limited to
                     LNG fires and dispersion;

               c.    plans to competently train emergency responders to effectively and safely
                     evacuate or shelter public within transient hazard areas along the marine
                     vessel route, and within hazard areas from LNG terminal;

               d.    designated contacts with federal, state and local emergency response
                     agencies responsible for emergency management and response within any
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                     transient hazard areas along the marine vessel route, and within hazard
                     areas from LNG terminal;

              e.    scalable procedures for the prompt notification of appropriate local officials
                    and emergency response agencies based on the level and severity of
                    potential incidents;

              f.    scalable procedures for mobilizing response and establishing a unified
                    command, including identification, location, and design of any emergency
                    operations centers and emergency response equipment required to
                    effectively and safely to respond to hazardous material incidents and
                    evacuate or shelter public within transient hazard areas along the marine
                    vessel route, and within LNG terminal hazard areas;

              g.    scalable procedures for notifying public, including identification, location,
                    design, and use of any permanent sirens or other warning devices required
                    to effectively communicate and warn the public prior to onset of
                    debilitating hazards within any transient hazard areas along the LNG
                    marine vessel route and within hazard areas from LNG terminal;

              h.    scalable procedures for evacuating the public, including identification,
                    location, design, and use of evacuation routes/methods and any mustering
                    locations required to effectively and safely evacuate public within any
                    transient hazard areas along the LNG marine transit route and within hazard
                    areas from LNG terminal; and

              i.    scalable procedures for sheltering the public, including identification,
                    location, design, and use of any shelters demonstrated to be needed and
                    demonstrated to effectively and safely shelter public prior to onset of
                    debilitating hazards within transient hazard areas that may better benefit
                    from sheltering in place (i.e., those within Zones of Concern 1 and 2), along
                    the route of the LNG marine vessel and within hazard areas that may
                    benefit from sheltering in place (i.e., those within areas of 1,600 BTU/ft2-
                    hr and 10,000 BTU/ft2-hr radiant heats from fires with farthest impacts,
                    including from a catastrophic failure of largest LNG tank) of the LNG
                    terminal.

              Texas LNG shall notify the Commission staff of all planning meetings in advance
              and shall report progress on the development of its Emergency Response Plan at
              3‑month intervals. Texas LNG shall file with the Secretary public versions of
              offsite emergency response procedures for public notification, evacuation, and
              shelter in place.
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         37.    Prior to construction of final design, Texas LNG shall file with the Secretary for
                review and written approval by the Director of the Office of Energy Projects, or
                the Director’s designee, a Cost-Sharing Plan identifying the mechanisms for
                funding all Project-specific security/emergency management costs that would be
                imposed on state and local agencies. This comprehensive plan shall include
                funding mechanisms for the capital costs associated with any necessary
                security/emergency management equipment and personnel base. This plan shall
                include sustained funding of any requirement or resource gap analysis identified to
                effectively and safely evacuate and shelter public and to effectively and safely
                respond to hazardous material incidents consistent with recommended and good
                engineering practices. Texas LNG shall notify FERC staff of all planning
                meetings in advance and shall report progress on the development of its Cost
                Sharing Plan at 3-month intervals.

         130.   Prior to commissioning, Texas LNG shall file with the Secretary, for review and
                written approval by the Director of the Office of Energy Projects, or the Director’s
                designee, a Project Ambient Air Quality Mitigation and Monitoring Plan for
                periods when construction, commissioning and start-up, and operation of the LNG
                Terminal occur simultaneously. To ensure that concurrent emissions during
                construction, commissioning and start-up, and operation of terminal facilities are
                effectively mitigated, the plan’s thresholds for concentrations of particulate matter
                (PM2.5 and PM10) and nitrogen oxide (NO2) must be established based on the
                National Ambient Air Quality Standards (NAAQS), as specified in 40 C.F.R. Part
                50 and shall:

                a.     include a monitoring plan for PM2.5, PM10, and NO2, including a description
                       of the site selection process for the proposed locations for air quality
                       monitors; data management; reporting; and protocols to manage any
                       potential exceedances of the NAAQS for PM2.5, PM10, and NO2 that may be
                       observed during the monitoring activities;

                b.     detail what measures Texas LNG will implement should the levels of PM2.5
                       or PM10 exceed the NAAQS 24-hour limit or should the levels of NO2
                       exceed the NAAQS 1-hour limit as specified in 40 C.F.R. Part 50; and

                c.     provide that Texas LNG will file weekly reports during periods when the
                       plan is in use, documenting the duration of any exceedances, reasons for
                       elevated levels of PM2.5, PM10, or NO2, actual measured values, and to the
                       extent there are exceedances, what minimization or mitigation measures
                       Texas LNG implemented to reduce these levels and documentation of a
                       reduction to or below the threshold(s).
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                                          Appendix B

                            Environmental Justice Tables and Figures
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                                                                           Table 2
                                                                      Texas LNG Project
                                              Results of the Cumulative Impact Analysis – Hoteling Scenario

              Pollutant       Averaging           Highest Predicted       Ambient                                               NAAQS            Over           Maximum
                                                                                            Direction of     Distance of
                              Period             Concentration (Max      Background                                                             NAAQS?          TX LNG
                                                                                           Max Impact        Max Impact
                                                      Impact)             Values (1)                                                                            Impact (5)
                                                                                           from TX LNG        from TX
                                                                                                                LNG


                                                      (µg/m3)              (µg/m3)                               (km)           (µg/m3)                           (µg/m3)
                                1-hour                6,867.45             3,778.50              SW               5.40           40,000             No            951.23
                 CO
                                8-hour                4,545.67             2,175.50              SW               5.40           10,000             No            120.37
                                1-hour                 147.78                 (2)                 SE              0.38            188               No            124.55
                NO2
                                Annual                  9.60                 4.72                 S               0.53            100               No              4.79
                PM10            24-hour                112.99                69.67               SW              15.36            150               No              4.04
                              24-hour (3)              32.29                  (2)                NW              43.50             35               No              3.33
                PM2 5                   (4)
                               Annual                  11.75                 10.13               SW              15.74             12               No              0.17
                                1-hour                 140.96                14.85                W              25.48            196               No             10.80
                SO2
                                3-hour                 96.41                 5.24                 W              25.48            1,300             No             53.37
                                24-hour                21.34                 3.14                 W              25.48            365               No              6.85
                                Annual                  5.19                 1.36                SW               5.40             80               No              0.92
            Notes:
            (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
            (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis; seasonal background data were developed for use in the 24-
            hour PM25 modeling analysis. Table 9-4 of the Final EIS summarizes the PM2 5 seasonal background concentrations that were developed based on the three-year
            average of seasonal 98th percentile 24-hr monitor values.
            (3) Secondary 24-hour PM2 5 impact of 0.2617 µg/m3 added to the Maximum Impact and Texas LNG Impact.
            (4) Secondary annual PM2 5 impact of 0.0077 µg/m3 added to the Maximum Impact and Texas LNG Impact.
            (5) Maximum Texas LNG contribution that could occur anywhere or anytime on the grid. The Texas LNG impact is not paired in time or space with the peak
                concentration.
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                                                Appendix C

         Commission Staff’s Environmental Justice Analysis of Potential Public Safety
         Impacts and Emergency Response Plans for the Texas LNG Project and LNG
         Marine Vessels


               A.       Onsite and Offsite Emergency Response Plans

                Texas LNG would continue to develop a comprehensive Emergency Response
        Plan with local, state, and federal agencies and emergency response officials and would
        continue these collaborative efforts during the development, design, and construction of
        the project.1 As required by Environmental Condition 36, Texas LNG must file an
        Emergency Response Plan covering the terminal and ship transit for review and approval
        by Commission staff prior to construction. Commission staff would also review and
        approve final design information related to the various layers of protection that would
        enhance the safety and security of the Texas LNG Project and would be in accordance
        with recommended and generally accepted good engineering practices.2 These reviews
        go above the minimum federal requirements required by the Pipeline and Hazardous
        Materials Safety Administration (PHMSA) and U.S. Coast Guard (USCG) regulations
        under for the liquefied natural gas (LNG) facility,3 and USCG regulations for LNG
        marine vessels.4 In addition, for LNG marine vessels, the 2004 Sandia Report describes
        the risk and consequences within each Zone of Concern with risk management strategies
        to mitigate risk to infrastructure and the public.5 The layers of protection and risk
        management strategies reduce public incident impacts to less than significant levels,
        including impacts to those with access and functional needs and environmental justice
        communities.

              The Emergency Response Plan and Cost Sharing Plan requirements are required
        by Environmental Conditions 36 and 37, as modified in Appendix A of this order.

               1
                   Texas LNG Sept. 15, 2022 Response to Commission staff Data Request at 24-26.
               2
                   Final EIS, Preliminary Engineering Design Review section, 4-219 to 4-244.
               3
              49 C.F.R.§ 193 (2022) (PHMSA Regulations); 33 C.F.R. §§ 105, 127 (2022)
        (USCG Regulations).
               4
                   33 C.F.R. § 104; 46 C.F.R. § 154.
               5
                 Sandia National Laboratories, Guidance on risk analysis and safety implications
        of a large liquefied natural gas (LNG) spill over water, sections 1.3.1, 1.3.2,
        https://www.osti.gov/servlets/purl/882343/.
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        However, in order to mitigate the potential offsite risks from a catastrophic incident from
        an LNG marine vessel or at the LNG terminal to people with access and functional needs,
        Texas LNG would need to consider additional identified elements of recommended and
        generally accepted good engineering practices for emergency response plans and resource
        requirements, including, but not limited to consistency with the following National Fire
        Protection Association (NFPA) codes and standards: NFPA 1600,6 NFPA 1616,7
        NFPA 1620,8 NFPA 470,9 and NFPA 47510 or approved equivalents. Specifically, NFPA
        1600 (2019 edition) provides provisions for the planning and design process of an
        emergency management program and includes the following provisions:

             Section 5.2.2 specifies a risk assessment to be conducted evaluating the likelihood
              and severity of hazards, including accidental and intentional events that may result
              in hazardous material releases, explosions, and fires as well as consideration of
              specific causes and preceding events, such as geological events (e.g., subsidence,
              earthquakes, tsunamis, volcanic, etc.) and meteorological events (e.g., extreme
              temperatures, hurricanes, tornadoes, floods, snow and ice storms, and wildland
              fires, etc.).11
             Section 5.2.2.2 specifies the vulnerability of people, property, operations,
              environment, and supply chain operations to be evaluated.

               6
                The NFPA standards are free and publicly accessible to view in English and
        Spanish on the NFPA website. NFPA 1600, Standard on Continuity, Emergency, and
        Crisis Management, https://www.nfpa.org/codes-and-standards/all-codes-and-
        standards/list-of-codes-and-standards/detail?code=1600.
               7
                 FNFPA 1616, Standard on Mass Evacuation, Sheltering, and Re-entry Programs,
        https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
        standards/detail?code=1616.
               8
                NFPA 1620, Standard for Pre-Incident Planning, https://www.nfpa.org/codes-
        and-standards/all-codes-and-standards/list-of-codes-and-standards/detail?code=1620.
               9
                NFPA 470, Hazardous Materials/Weapons of Mass Destruction (WMD)
        Standard for Responders, https://www.nfpa.org/codes-and-standards/all-codes-and-
        standards/list-of-codes-and-standards/detail?code=470.
               10
                  NFPA 475, Recommended Practice for Organizing, Managing, and Sustaining a
         Hazardous Materials/Weapons of Mass Destruction Response Program,
         https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
         standards/detail?code=475.
               11
                    Final EIS 4-224 to 4-244.
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             Section 5.2.3 specifies the analysis of the impacts of the hazards identified in
              section 5.2.2 on the health and safety of persons in the affected area and personnel
              responding to the incident as well as impacts to properties, facilities, and critical
              infrastructure.
             Section 5.2.4 specifies an analysis of the escalation of impacts over time.
             Section 5.2.5 specifies evaluation of incidents that could have cascading impacts.
             Section 5.2.6 specifies the risk assessment to evaluate the adequacy of existing
              prevention and mitigation measures.

                Chapter 6 of NFPA 1600 (2019 edition) covers the implementation of the plans,
         including health and safety of personnel, roles and responsibilities of internal and
         external entities, lines of authority, process for delegation of authority, liaisons with
         external entities, and logistics support and resource requirements.

             Section 6.3.1 specifies the implementation of a mitigation strategy that includes
              measures to limit or control the consequences, extent, or severity of an incident
              that cannot be prevented based on the results of hazard identification and risk
              assessment and analysis of impacts.
             Section 6.9.2 specifies that emergency response plans should identify actions to be
              taken to protect people, including people with disabilities and other access and
              functional needs.12
             Sections 6.6 and 6.9.4 stipulate an emergency response plan include warning,
              notification, and communication should be determined and be reliable, redundant,
              and interoperable and tested and used to alert stakeholders potentially at risk from
              an actual or impending incident.
             Section 6.8 specifies the development of an incident management system to direct,
              control, and coordinate response, continuity, and recovery operations.
             Section 6.8.1 stipulates primary and alternate emergency operations centers be
              established capable of managing response, continuity, and recovery operations and
              may be physical or virtual.

                In addition, NFPA 1600 (2019 edition) Chapter 7 provides specifications for
         execution of the plan, Chapter 8 provides for training and education provisions, Chapter 9
         provides for exercises and tests to be conducted periodically, and Chapter 10 provides for
         its continued maintenance and improvement.

                NFPA 1616 (2020 edition) covers organizing, planning, implementing, and
         evaluating a program for mass evacuation, sheltering, and re-entry. Similar to NFPA


                12
                NFPA 1600 defines “access and functional need” as “Persons requiring special
         accommodations because of health, social, economic, or language challenges.”
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         1600, the following sections of NFPA 1616 stipulate:

             Section 4.5 stipulates similar hazard identification, risk assessment, and
              requirements analysis as NFPA 1600.
             Section 5.1 stipulates plans to address the health and safety of personnel including
              persons with disabilities and access and functional needs.13
             Section 5.6 specifies a requirements analysis in sub-section 5.6.1 that is based
              upon the threat, hazard identification, and risk assessment. Sub-section 5.6.2(1)
              specifies the requirements analysis include characteristics of the potentially
              affected population, including persons with disabilities and other access and
              functional needs. In addition, sub-section 5.6.2(2) stipulates consideration of
              existing mandatory evacuation laws and expected enforcement of those laws.
              Sub-section 5.6.2(3) stipulates the requirements analysis to include characteristics
              of the incident that trigger consideration for evacuation based on weather, season,
              and ambient conditions, speed of onset, magnitude, location and direction,
              duration, resulting damages to essential functions, risk for cascading effects and
              secondary disasters, and capability of transportation routes and systems to
              transport life-sustaining materials (e.g., water, medical supplies, etc.) into the
              affected area.
             Section 5.6.3 stipulates the determination if evacuation or sheltering-in-place is
              appropriate to the situation and resources available based on 1) the anticipated
              impact and duration of the event, 2) the distance to appropriate sheltering
              facilities, 3) the availability of and access to transportation to those facilities, and
              4) the ability to communicate with the affected population within the required
              timeframe.
             Section 5.6.4 stipulates the 1) establishment of a single or unified command, 2)
              development of information system to notify public and provide an assessment of
              the time needed to reach people with the information, 3) identification of
              appropriate sheltering facilities by location, size, types of services available,
              accessibility, and building safety, and 4) identification of the modes and routes for
              evacuee transportation and the time needed to reach them, sources of evacuee

                13
                   NFPA 1616 defines “People with Access and Functional Needs” as “Persons
         with disabilities and other access and functional needs include those from religious,
         racial, and ethnically diverse backgrounds; people with limited English proficiency;
         people with physical, sensory, behavioral and mental health, intellectual, developmental
         and cognitive disabilities, including individuals who live in the community and
         individuals who are institutionalized; older adults with and without disabilities; children
         with and without disabilities and their parents; individuals who are economically or
         transportation disadvantaged; women who are pregnant; individuals who have acute and
         chronic medical conditions; and those with pharmacological dependency.”
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             support services, and manpower requirements based on various potential shelters.
            Section 5.8 also has stipulations for dissemination of information on evacuation,
             shelter in place, and re-entry before, during, and after an incident to personnel and
             to the public.
            Section 5.9 has stipulations for warning, notification, and communication needs
             that are reliable and interoperable and redundant where feasible that takes into
             account persons with disabilities and other access and functional needs.

              Similar to NFPA 1600, NFPA 1616 has requirements in Chapter 6 on
        Implementation, Chapter 7 on Training and Education, Chapter 8 on Exercises, and
        Chapter 9 on Program Maintenance and Improvement with additional specifics for mass
        evacuation, sheltering in place and re-entry.

                NFPA 1620 (2020 edition) specifies the characteristics of the facility and
        personnel onsite that should be within a pre-incident plan, such as emergency contact
        information, including those with knowledge of any supervisory, control, and data
        acquisition systems, communication systems, emergency power supply systems, and
        facility access controls as well as personnel accountability and assistance for people with
        self-evacuation limits, means of egress, emergency response capabilities, spill
        containment systems, water supply and fire protection systems, hazardous material
        information (e.g., safety datasheets), special considerations for responding to hazardous
        materials (e.g., firewater may exacerbate LNG fires, boiling-liquid-expanding-vapor
        explosion (BLEVE)14 potential, etc.), and access to emergency action plans developed by
        the facility. Similar to NFPA 1600 and NFPA 1616, NFPA 1620 section 8.5.2 also
        addresses the implementation of an incident management system for the duration of the
        event and Chapter 10 establishes maintenance of a pre-incident plan.

                NFPA 1600, NFPA 1616, and NFPA 1620 provisions for threat, hazard
        identification, and risk assessment provisions and identification of resource requirements
        and gaps are also consistent with Department of Homeland Security FEMA’s
        Comprehensive Preparedness Guide 101, Developing and Maintaining Emergency

               14
                  The American Institute of Chemical Engineers Center for Chemical Process
        Safety defines a boiling-liquid-expanding-vapor-explosion or BLEVE as a “type of rapid
        phase transition in which a liquid contained above its atmospheric boiling point is rapidly
        depressurized, causing a nearly instantaneous transition from liquid to vapor with a
        corresponding energy release. A BLEVE of flammable material is often accompanied by
        a large aerosol fireball, since an external fire impinging on the vapor space of a pressure
        vessel is a common cause. However, it is not necessary for the liquid to be flammable to
        have a BLEVE occur.” Center for Chemical Process Safety, Boiling-Liquid-Expanding-
        Vapor Explosion (BLEVE), https://www.aiche.org/ccps/resources/glossary/process-
        safety-glossary/boiling-liquid-expanding-vapor-explosion-bleve, (last visited April 2023).
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        Operations Plans, Version 3.0, September 2021, and Comprehensive Preparedness Guide
        201, Threat and Hazard Identification and Risk Assessment and Stakeholder
        Preparedness Review Guide, Third Edition, May 2018, and other FEMA guidance.

               NFPA 470 covers the competencies and job performance requirements for
        emergency response personnel to incidents involving hazardous materials, including
        awareness level personnel (i.e., personnel onsite that would call for emergency
        responders and secure the scene), operations level responders (i.e., personnel responding
        to incident for implementing supporting actions to protection public), hazardous material
        technicians (i.e., personnel responding to incident for analyzing and implementing
        planned response), hazardous materials officers, hazardous materials safety officers,
        emergency medical services (EMS) personnel, incident commanders, and other specialist
        employees. The standard covers competencies and Job Performance Requirements ,
        including the ability to identify hazardous material releases and hazardous materials
        involved and identifying surrounding conditions, such as topography, weather conditions,
        public exposure potential, possible ignition sources, land use and adjacent land use,
        overhead and underground wires and pipelines, rail lines, and highways, bodies of water,
        storm and sewer drains, and building information (e.g., ventilation ducts and air returns).
        Part of the standard also describes the ability and requirement to estimate potential
        outcomes in order to properly plan response strategies and tactics, and the selection and
        use of proper personnel protective equipment (PPE). Many of these provisions are
        similar and synergistic with NFPA 1600, NFPA 1616, and NFPA 1620.

                NFPA 475 covers the organization, management, and sustainability of a hazardous
         material response program, including identifying facilities with hazardous materials,
         analyzing the risk of hazardous material incidents, including identifying hazardous
         materials at each location, (e.g., quantity, concentration, hazardous properties, etc.), type
         and design of containers; surrounding population and infrastructure, including vulnerable
         populations and critical facilities (e.g., schools, hospitals, businesses, etc.). NFPA 475
         similarly calls for analyzing the risk of an incident based on the consequences of a release
         and predicting its behavior and estimating the probability for an incident to take place and
         potential for cascading incidents. NFPA 475 Chapter 7 also has provisions for resource
         management, including the identification, acquisition, and management of personnel,
         equipment, and supplies to support hazardous material response programs. NFPA 475
         Chapter 8 expands upon staffing requirements and use of different staffing models and
         Chapter 9 expands upon training program with reference and similarities to NFPA 470.

                In accordance with these recommended and generally accepted good engineering
         practices, Commission staff evaluated the potential impacts from incidents caused by a
         range of natural hazards, accidental events, intentional events, and potential for cascading
         damage at the LNG terminal, including scenarios that would lead to a potential
         catastrophic failure of a tank required to be accounted in emergency response plans by
         PHMSA regulations in 49 CFR § 193.2509, and along the LNG carrier route using the
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        Zones of Concern referenced in USCG Navigation and Vessel Inspection Circular
        (NVIC) 01-11.15 In addition, Commission staff identified potential emergency response
        needs based on the potential impacts to and characteristics of the population and
        infrastructure for potential intentional and accidental incidents along the LNG marine
        vessel route and at the LNG terminal. Consistent with these practices, Commission staff
        evaluated the potential hazards from incidents, the potential impacts to areas from
        incidents and the evaluation of characteristics of population, including those with
        potential access and functional needs, and infrastructure that require special
        considerations in pre-incident planning, including but not limited to:

               daycares;
               elementary, middle, and high schools and other educational facilities;
               elderly centers and nursing homes and other boarding and care facilities;
               detention and correctional facilities;
               stadiums, concert halls, religious facilities, and other areas of assembly;
               densely populated commercial and residential areas, including high rise buildings,
                apartments, and hotels;
               hospitals and other health care facilities;
               police departments, stations, and substations;
               fire departments and stations;
               military or governmental installations and facilities;
               major transportation infrastructure, including evacuation routes, major highways,
                airports, rail, and other mass transit facilities as identified in external impacts
                section; and
               industrial facilities that could exacerbate the initial incident, including power
                plants, water supply infrastructure, and hazardous facilities with quantities that
                exceed thresholds in U.S. Environmental Protection Agency (EPA) RMP and/or
                OSHA PSM standards as identified in external impacts section.

               Many of these facilities are also identified and defined in NFPA 101, Life Safety
        Code, and require emergency action plans. NFPA 101 is currently used by every U.S.
        state and adopted statewide in in 43 of the 50 states.16 Texas adopted and follows


                15
                  NVIC 01-11,
         https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
         1-2011%20Final.pdf, accessed January 2023.
                16
                  NFPA, NFPA 101 Fact Sheet,
         https://www.nfpa.org/assets/files/AboutTheCodes/101/NFPA101FactSheet0809.pdf,
         accessed January 2023.
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        NFPA 101 (2015 edition) without amendments.17 These areas are also similar to
        “identified sites” defined in 49 C.F.R. § 192 that define high consequence areas and those
        identified within Pipelines and Informed Planning Alliance (PIPA) for special land use
        planning considerations near pipelines.18

               B.     Potential Hazards

               An incident can result in various potential hazards and are initiated by a potential
        liquid and/or gaseous release with the formation of vapor at the release location, as well
        as from any liquid that pooled. The fluid released may present low or high temperature
        hazards and may result in the formation of toxic or flammable vapors. The type and
        extent of the hazard will depend on the material released, the storage and process
        conditions, and the volumes and durations released.

                Exposure to either cold liquid or vapor could cause freeze burns and depending on
        the length of exposure, more serious injury or death. However, spills would be contained
        to on-site areas and the cold state of these releases would be greatly limited due to the
        continuous mixing with the warmer air. The cold temperatures from the release would
        not present a hazard to the public, which would not have access to onsite areas. The cold
        temperatures may also quickly cool any materials contacted by the liquid on release,
        causing extreme thermal stress in materials not specifically designed for such conditions.
        These thermal stresses could subsequently subject the material to brittleness, fracture, or
        other loss of tensile strength and result in cascading failures. However, regulatory
        requirements and the Environmental Conditions in the Authorization Order would ensure
        that these effects would be accounted for in the design of equipment and structural
        supports.

                A rapid phase transition (RPT) can occur when a cryogenic liquid is spilled onto
         water and changes from liquid to gas, virtually instantaneously. Unlike an explosion that
         releases energy and combustion products from a chemical reaction, an RPT is the result
         of heat transferred to the liquid inducing a change to the vapor state. RPTs have been
         observed during LNG test spills onto water. In some test cases, the overpressures
         generated were strong enough to damage test equipment in the immediate vicinity of the

               17
                  Up Codes, Texas Codes, https://up.codes/codes/texas, accessed January 2023;
         Texas State Fire Marshal, Standards of Inspection,
         https://www.tdi.texas.gov/fire/fmfsinotices.html, accessed January 2023.
               18
                   Pipelines and Informed Planning Alliance, Partnering to Further Enhance
         Pipeline Safety in Communities through Risk-Informed Land Use Planning, Final Report
         of Recommended Practices,
         https://primis.phmsa.dot.gov/comm/pipa/landuseplanning.htm, November 2010.
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         LNG release point. The sizes of the overpressure events have been generally small and
         are not expected to cause significant damage. Six of the 18 Coyote spills19 produced RPT
         explosions. Most were early RPTs that occurred immediately with the spill, and some
         continued for the longer periods. Including RPTs near the end of the spills on three tests.
         LNG composition, water temperature, spill rate and depth of penetration all seem to play
         a role in RPT development and strength. The maximum strength RPT yielded equivalent
         to up to 6.3 kilograms of TNT free-air point source at the maximum spill rate of
         18 m3/min (4,750 gpm). This would produce an approximate 1 psi overpressures less
         than 100 feet from the spill source. These events are typically limited to the area within
         the spill and are not expected to cause damage outside of the area engulfed by the LNG
         pool. However, a RPT may affect the rate of pool spreading and the rate of vaporization
         for a spill on water.

                C.     Vapor Dispersion

                Depending on the size and product of the release, liquids may form a liquid pool
         and vaporize. Additional vaporization would result from exposure to ambient heat
         sources, such as water or soil. The vapor may form a toxic or flammable cloud
         depending on the material released. The dispersion of the vapor cloud will depend on the
         physical properties of the cloud, the ambient conditions, and the surrounding terrain and
         structures. Generally, a denser-than-air vapor cloud would sink to the ground and would
         travel with the prevailing wind, while a lighter-than-air vapor cloud would rise and travel
         with the prevailing wind. The density will depend on the material releases and the
         temperature of the material. For example, an LNG release would initially form a denser
         than-air vapor cloud and transition to lighter-than-air vapor cloud as the vapor disperses
         downwind and mixes with the warm surrounding air. However, experimental
         observations and vapor dispersion modeling indicate an LNG vapor cloud would not
         typically be warm, or buoyant, enough to lift off from the ground before the LNG vapor
         cloud disperses below its lower flammable limit (LFL).

               A vapor cloud formed following an accidental release would continue to be
         hazardous until it dispersed below toxic levels and/or flammable limits. Toxicity is

                19
                   Goldwire, H.C., et al, Coyote Series Data Report LLNL/NWC 1981 LNG Spill
         tests Dispersion, Vapor Burn, and Rapid Phase Transition, Lawrence Livermore
         Laboratory, UCID-19952, Volume 1, October 1983. In 1981, a series of LNG spill
         experiments were performed at the Naval Weapons Center, located at China Lake,
         California, they are commonly referred to as the Coyote series. There was a total of ten
         Coyote series experiments, which included the study of vapor dispersion and burning
         vapor clouds and rapid-phase transition explosions. Id.
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        primarily dependent on the airborne concentration of the toxic component and the
        exposure duration, while flammability of the vapor cloud is primarily dependent just on
        the concentration of the vapor when mixed with the surrounding air. In general, higher
        concentrations within the vapor cloud would exist near the spill, and lower concentrations
        would exist near the edge of the cloud as it disperses downwind.

                Toxicity is defined by several different agencies for different purposes. Acute
        Exposure Guideline Level (AEGL) and Emergency Response Planning Guidelines
        (ERPG) can be used for emergency planning, prevention, and response activities related
        to the accidental release of hazardous substances. Other federal agencies, such as the
        Department of Energy (DOE), EPA, and National Oceanic and Atmospheric
        Administration (NOAA), use AEGLs and ERPGs as the primary measure of toxicity.

               There are three AEGLs and three ERPGs, which are distinguished by varying
        degrees of severity of toxic effects with AEGL-1 and ERPG-1 (level 1) being the least
        severe to AEGL-3 and ERPG-3 (level 3) being the most severe.

             AEGL-1 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              notable discomfort, irritation, or certain asymptomatic non sensory effects.
              However, these effects are not disabling and are transient and reversible upon
              cessation of the exposure.
             AEGL-2 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              irreversible or other serious, long lasting adverse health effects or an impaired
              ability to escape.
             AEGL-3 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              life-threatening health effects or death.

                The EPA directs the development of AEGLs in a collaborative effort consisting of
         committee members from public and private sectors across the world. Commission staff
         uses AEGLs preferentially as they are more inclusive and provide toxicity levels at
         various exposure times (10 minutes, 30 minutes, 1 hour, 4 hours, and 8 hours). The use
         of AEGLs is also preferred by the DOE and NOAA. Under the EPA RMP regulations in
         40 C.F.R. § 68, the EPA currently requires the determination of distances to toxic
         concentrations based on ERPG-2 levels. ERPG levels have similar definitions but are
         based on the maximum airborne concentration below which it is believed nearly all
         individuals could be exposed for up to 1 hour without experiencing similar effects
         defined in each of the AEGLs. The EPA provides ERPGs (1 hour) for a list of chemicals.
         These toxic concentration endpoints are comparable to AEGLs endpoints.

               In addition, any non-toxic release that does not contain oxygen would be classified
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        as simple asphyxiants and may pose extreme health hazards, including death, if inhaled in
        significant quantities within a limited time. Very cold methane and heavier hydrocarbons
        vapors may also cause freeze burns. However, the locations of concentrations where cold
        temperatures and oxygen-deprivation effects could occur are greatly limited due to the
        continuous mixing with the warmer air surrounding the spill site. For that reason,
        exposure injuries from contact with releases of methane, nitrogen, and heavier
        hydrocarbons normally represent negligible risks to the public.

              Flammable vapors can develop when a flammable material is above its flash point
        and concentrations are between the LFL and the upper flammable limit (UFL).
        Concentrations between the LFL and UFL can be ignited, and concentrations above the
        UFL or below the LFL would not ignite.

                 The extent of the affected area and the severity of the impacts on objects within a
        vapor cloud would primarily be dependent on the material, quantity, and duration of the
        initial release, the surrounding terrain, and the weather (e.g., wind speed and direction,
        temperature, humidity, etc.) present during the dispersion of the cloud.

               D.     Flammable Vapor Ignition

                 If the flammable portion of a vapor cloud encounters an ignition source, a flame
        would propagate through the flammable portions of the cloud. In most circumstances,
        the flame would be driven by the heat it generates. This process is known as a
        deflagration, or a flash fire, because of its relatively short duration. However, exposure
        to a deflagration, or flash fire, can cause severe burns and death, and can ignite
        combustible materials within the cloud. If the deflagration in a flammable vapor cloud
        accelerates to a sufficiently high rate of speed, pressure waves that can cause damage
        would be generated. As a deflagration accelerates to super-sonic speeds, the large shock
        waves produced, rather than the heat, would begin to drive the flame, resulting in a
        detonation. The flame speeds are primarily dependent on the reactivity of the fuel, the
        ignition strength and location, the degree of congestion and confinement of the area
        occupied by the vapor cloud, and the flame travel distance. Once a vapor cloud is
        ignited, the flame front may propagate back to the spill site if the vapor concentration
        along this path is sufficiently high to support the combustion process. When the flame
        reaches vapor concentrations above the UFL, the deflagration will transition to a pool or
        jet fire back at the source. If ignition occurs soon after the release begins, a fireball may
        occur near the source of the release and would be of a relatively short duration compared
        to an ensuing jet or pool fire. The extent of the affected area and the severity of the
        impacts on objects in the vicinity of a fire would primarily be dependent on the material,
        quantity, and duration of the fire, the surrounding terrain, and the ambient conditions
        present during the fire.
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               E.     Overpressures

                If the deflagration in a flammable vapor cloud accelerates to a sufficiently high
        rate of speed, pressure waves that can cause damage would be generated. As a
        deflagration accelerates to super-sonic speeds, large pressure waves are produced, and a
        shock wave is created. In this scenario, the shock wave, rather than the heat, would drive
        the flame, resulting in a detonation. Deflagrations or detonations are generally
        characterized as “explosions” as the rapid movement of the flame and pressure waves
        associated with them cause additional damage beyond that from the heat. The amount of
        damage an explosion causes is dependent on the amount the produced pressure wave is
        above atmospheric pressure (i.e., an overpressure) and its duration (i.e., pulse). For
        example, a 1 psi overpressure, often cited as a safety limit in NFPA 59A (2019 edition)
        and U.S. regulations, is associated with glass shattering and traveling with velocities high
        enough to lacerate skin.

                Flame speeds and overpressures are primarily dependent on the reactivity of the
        fuel, the ignition strength and location, the degree of congestion and confinement of the
        area occupied by the vapor cloud, and the flame travel distance.

               The potential for unconfined LNG vapor cloud detonations was investigated by
        the USCG in the late 1970s at the Naval Weapons Center in China Lake, California.
        Using methane, the primary component of natural gas, several experiments were
        conducted to determine whether unconfined LNG vapor clouds would detonate.
        Unconfined methane vapor clouds ignited with low-energy ignition sources (13.5 joules),
        produced flame speeds ranging from 12 to 20 mph. These flame speeds are much lower
        than the flame speeds associated with a deflagration with damaging overpressures or a
        detonation.

                To examine the potential for detonation of an unconfined natural gas cloud
         containing heavier hydrocarbons that are more reactive, such as ethane and propane, the
         USCG conducted further tests on ambient-temperature fuel mixtures of methane-ethane
         and methane-propane. The tests indicated that the addition of heavier hydrocarbons
         influenced the tendency of an unconfined natural gas vapor cloud to detonate. Less
         processed natural gas with greater amounts of heavier hydrocarbons would be more
         sensitive to detonation.

                Although it has been possible to produce damaging overpressures and detonations
         of unconfined LNG vapor clouds, the feed gas stream proposed for the project would
         have lower ethane and propane concentrations than those that resulted in damaging
         overpressures and detonations. The substantial amount of initiating explosives needed to
         create the shock initiation during the limited range of vapor-air concentrations also
         renders the possibility of detonation of these vapors at an LNG plant as unrealistic.
         Ignition of a confined LNG vapor cloud could result in higher overpressures. To prevent
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         such an occurrence, Texas LNG would take measures to mitigate the vapor dispersion
         and ignition into confined areas, such as buildings. Texas LNG would install hazard
         detection devices at all combustion and ventilation air intake equipment to enable
         isolation and deactivation of any combustion equipment whose continued operation could
         add to, or sustain, an emergency. In general, the primary hazards to the public from an
         LNG spill that disperses to an unconfined area, either on land or water, would be from
         dispersion of the flammable vapors or from radiant heat generated by a pool fire.

                In comparison with LNG vapor clouds, there is a higher potential for unconfined
         propane clouds to produce damaging overpressures. This has been shown by multiple
         experiments conducted by the Explosion Research Cooperative to develop predictive
         blast wave models for low, medium, and high reactivity fuels and varying degrees of
         congestion and confinement. The experiments used methane, propane, and ethylene, as
         the respective low, medium, and high reactivity fuels. In addition, the tests showed that if
         methane, propane, or ethylene are ignited within a confined space, such as in a building,
         they all have the potential to produce damaging overpressures.

                 Fires and overpressures may also cause failures of nearby storage vessels, piping,
         and equipment if not properly mitigated. These failures are often termed cascading
         events or domino effects and can exceed the consequences of the initial hazard. The
         failure of a pressurized vessel could cause fragments of material to fly through the air at
         high velocities, posing damage to surrounding structures and a hazard for operating staff,
         emergency personnel, or other individuals in proximity to the event. In addition, failure
         of a pressurized vessel when the liquid is at a temperature significantly above its normal
         boiling point could result in a BLEVE. BLEVEs can produce overpressures when the
         superheated liquid rapidly changes from a liquid to a vapor upon the release from the
         vessel. BLEVEs of flammable fluids may also ignite upon its release and cause a
         subsequent fireball.

                F.     Potential Infrastructure Impacts from LNG Facilities

                The final EIS for the Texas LNG Project assessed potential impacts to the public
         and whether the project would operate safely, reliably, and securely. The Texas LNG
         Project would be subject to design requirements and would include mitigation to meet
         regulation requirements and the conditions of the Commission’s Authorization Order.
         Although the likelihood of incidents and hazards described in the final EIS are extremely
         low due to the mitigation required by regulations and Environmental Conditions,
         potential impacts from these hazards could impact onsite personnel and offsite public.20


                20
                  Specific distances of potential impacts from incidents at an LNG terminal have
         not been provided at this time to try and balance the potential security interests in
         releasing such information. Specific distances for various hazards described would be
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                 Commission staff evaluated a range of releases to evaluate the potential impacts to
         populations and infrastructure within vicinity of the plant. Impacts would vary based on
         the initiating event and subsequent release characteristics (e.g., size, location, direction,
         process conditions, etc.), hazard (i.e., vapor dispersion, overpressures, fires, BLEVE and
         pressure vessel bursts), weather conditions, and surrounding terrain. Distances to radiant
         heats of 5 kW/m2 (or approximately 1,600 BTU/ft2-hr) from fires produced by accidental
         and intentional acts could impact onsite personnel or offsite public. For example, Section
         2.2.2.2 in NFPA 59A-2001, incorporated by reference in PHMSA regulations in 49
         C.F.R. § 193, requires spill containments, serving vaporization, process, or LNG transfer
         area, to contain liquid releases from 2-inch diameter holes and guillotine releases of
         piping less than 6-inches in diameter. Additionally, PHMSA siting regulations for
         flammable vapor dispersion and thermal radiation exclusion zones limit the dispersion of
         flammable vapors and 1,600 BTU/ft2-hr radiant heat from LNG pool fires in those spill
         containment systems in certain weather conditions from extending beyond the control of
         the operator or government agency and prevent it from extending onto areas accessible
         by the public. Environmental Condition 84 of the Authorization Order requires spill
         containment systems to capture all liquid from guillotine ruptures of the single largest
         line and largest vessel(s) to limit their pool spread and vaporization. This effectively
         limits the extent of the 1,600 BTU/ft2-hr radiant heat from pool fires to onsite for even
         the largest releases from a single source and considerably reduces the dispersion
         distances to flammable vapors. However, ignition of releases larger than those used in
         the siting analyses can result in 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats
         from jet and pool fires that extend offsite onto publicly accessible areas.

                 The only offsite infrastructure that could be impacted by 10,000 BTU/ft2-hr
         radiant heat from a fire would be a portion of Texas State Highway 48 with no impacts to
         nearby communities. The offsite infrastructure that could be impacted by 1,600 BTU/ft2-
         hr radiant heat from a fire would be the authorized Texas LNG facility21 and the
         infrastructure within the 10,000 BTU/ft2-hr radiant heat with no impact to nearby
         communities. The unignited vapor dispersion from a catastrophic failure of an LNG
         storage tank is extremely unlikely but, if it occurred, could extend farther offsite and
         could impact the following critical infrastructure: commercial areas including the Port
         Isabel-San Benito Navigation District, and the Space X assembly facility; numerous local

         provided in emergency response plans for reference and use by emergency responders,
         Further, potential hazards have been described and potential impacts to communities are
         disclosed to balance the importance of public disclosure and transparency on the balance
         of potentially releasing information that has not been previously released and could be
         used by intentional actors.
                21
                  Texas LNG Brownsville LLC, Order Granting Authorization Under Section 3 of
         the Natural Gas Act, 169 FERC ¶ 61,130
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        government buildings including the Port Isabel Police Department, Cameron County
        Precinct 1 Constable’s Office, Port Isabel City Fire Department, Cameron County Tax
        Assessor-Collector Office, Port Isabel City Hall, and Port Isabel City Social Worker
        Office; two health care facilities including the Port Isabel Health Clinic, the Luna
        Medical Clinic, and Emergency Medical Services; and several major roadways, including
        the Queen Isabel Causeway, Texas State Highway 100, and Texas State Highway 48.
        Several communities within the extent of the unignited vapor release from a catastrophic
        failure of one of the LNG storage tanks could include multiple residential homes,
        apartment complexes, several schools including Garriga Elementary School, Derry
        Elementary School, Port Isabel Junior High School, Port Isabel High School, Port Isabel
        Independent School District, several child-care facilities including the Little Learners
        Academy, Esperanza B. Garza Head Start, and Beacon Bay Head Start, hotels, and places
        of worship.

              G.        Potential Infrastructure Impacts Along LNG Marine Vessel Route

               As LNG marine vessels proceed along the intended transit route, the estimated
        impacts would extend onto populated areas and infrastructure. These distances are
        provided as Zones of Concern in the publicly available guidance NVIC 01-1122 used by
        the USCG and correspond to 37.5 kW/m2 (approximately 12,000 BTU/ft2-hr) radiant
        heats from fires for Zone 1, 5 kW/m2 (approximately 1,600 BTU/ft2-hr) radiant heats
        from fires for Zone 2, and flammable vapor dispersion distances for Zone 3. The areas,
        including a description of the infrastructure and communities, impacted by the three
        different hazard zones were provided for accidental and intentional events in the Texas
        LNG final EIS.23

              H.        Potential Impacts on People with Access and Functional Needs and
                        Environmental Justice Communities

               Commission staff used EJScreen24 as an initial screening tool to identify the
        potential impacts from incidents along the LNG marine vessel transit route and at the
        LNG terminal, including potential impacts to people with access and functional needs as
        defined in NFPA 1600 and 1616. Table 1 shows the resultant percentages of people with
        potential access and functional needs based on 2016-2020 U.S. Census Bureau, American

              22
                 NVIC 01-11,
        https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
        1-2011%20Final.pdf, accessed January 2023.
              23
                    Texas LNG Final EIS, pages 4-211 to 4-212 in Figures 4.12.3-1 and 4.12.3-2.
               24
                    EPA, EJScreen, https://ejscreen.epa.gov/mapper/, accessed December 2022.
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        Community Survey (ACS) as follows.25




                25
                   Based on EPA, EJScreen User Guide Version 2.1, 2022, the impact area would
         aggregate appropriate portions of the intersecting block groups, weighted by population,
         to create a representative set of data for the entire ring area, honoring variation and
         dispersion of the population in the block groups within it. For each indicator, the result is
         a population-weighted average, which equals the block group indicator values averaged
         over all residents who are estimated to be inside the impact area. A weight factor for
         each block group is determined by summing each block point population percentage for
         that block group. If the impact area touches part of a neighboring block group that
         contains no block points, nothing will be aggregated; if an impact area intersects a
         number of block groups, EJScreen indices will be aggregated within each block group
         based on the affiliated block points. The aggregation is done by using factor-weighted
         block points.
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   TABLE 1

   People With Access and Functional Needs within Potential Impact Areas
                          Population                                                            Linguistically
   Potential Incident     Density                          Housing Age 0-4         Age 65+      Isolated
                                         Households1
   Impact Area            (per square                      Units1     (percent)1 (percent)1 Households
                          mile) 1                                                               (percent)1, 2, 3
   Zone 1
   (LNG marine vessel 0                  0                 0          0            0            0
   - Accidental)
   Zone 2
   (LNG marine vessel 455                75                397        2%           34%          0
   - Accidental)
   Zone 3
   (LNG marine vessel 235                256               1,359      2%           34%          0
   - Accidental)
   Zone 1
   (LNG marine vessel 2                  0                 1          2%           34%          0
   - Intentional)
   Zone 2
   (LNG marine vessel 211                195               1,033      2%           34%          0
   - Intentional)
   Zone 3
   (LNG marine vessel 228                1,557             4,093      5%           22%          14.9%
   - Intentional)
   10,000 BTU/ft2-hr
                          0              0                 0          0%           0%           0
   (LNG Terminal)
   1,600 BTU/ft2-hr
                          0              0                 0          0%           0%           0
    (LNG Terminal)
   Flammable Vapor
   Cloud                  208            3,102             5,979      9%           19%          13.2%
   (LNG Terminal)
   1
     American Community Survey, 2016-2020, ACS Estimates
   2
     Households in which no one 14 and over speaks English “very well” or speaks English only.
   3
     Calculated by dividing the number of linguistically isolated households by the total number of households
   multiplied by 100.

                The worst-case distances from these potential incidents would potentially impact
         six census block groups, all of which are considered environmental justice communities.
         The block groups located with environmental justice communities that exceed the
         thresholds for minority and low income would include Census Tracts 142.02 Block
         Group 2, 127 Block Group 2, 123.04 Block Group 2, 123.04 Block Group 4 (based on the
         minority and low-income thresholds); Census Tract 123.04 Block Group 3 (based on the
         minority threshold); and Census Tract 123.04 Block Group 1 (based on low-income
         threshold).
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               I.        Emergency Response Plans and Mitigation

               In order to mitigate these potential offsite risks, this order modifies, in
        Appendix A, the Emergency Response Plan and Cost Sharing Plan Environmental
        Conditions 36 and 37 from Authorization Order. The modified language specifies
        emergency response and cost sharing considerations related to public education materials,
        including those with access and functional needs and environmental justice communities,
        on proposed evacuation routes and shelter in place locations, first responder training,
        emergency command centers and equipment, and public communication methods and
        devices. These revisions will further enhance the safety and security measures beyond
        that which would normally be required at the LNG terminal by the minimum standards
        for LNG safety promulgated in PHMSA regulations under 49 C.F.R. § 193 and USCG
        regulations under 33 C.F.R. § 127 and 33 C.F.R. § 105.

                 As stated in Sandia National Laboratories Report, Guidance on Risk Analysis and
        Safety Implications of a Large LNG Spill Over Water, SAND2004-6258, which was the
        basis for the Zones of Concern and referenced in NVIC 01-011, Zone 1 represents “risks
        and consequences of an LNG spill could be significant and have severe negative impacts”
        and radiant heat demarked by this zone “poses a severe public safety and property hazard,
        and can damage or significantly disrupt critical infrastructure.” Subsequently, the Sandia
        report concludes that for accidental Zone 1 impacts, “risk management strategies for
        LNG operations should address both vapor dispersion and fire hazards” and the most
        rigorous deterrent measures, such as vessel security zones, waterway traffic management,
        and establishment of positive control over vessels are options to be considered as
        elements of the risk management process.” Zone 1 is based upon a 37.5 kW/m2 radiant
        heat from a fire, which would cause significant damage to equipment and structures that
        are located within 1,640 feet.26 Sandia recommends that “incident management and
        emergency response measures should be carefully evaluated to ensure adequate resources
        (i.e., firefighting, salvage, etc.) are available for consequence and risk mitigation.”

                 Sandia indicates Zone 2 represents where radiant heat “transitions to less severe
         hazard levels to public safety and property” and the consequence of an accidental LNG
         spill are reduced and risk reduction and mitigation approaches and strategies can be less
         extensive.” Zone 2 is based upon a 5 kW/m2 radiant heat, which would cause significant
         impacts to individuals, but would not be expected to significantly impact most
         structures.27 Sandia concludes that for accidental Zone 2 impacts, “risk management

               26
                     Texas LNG Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 1
        impacts).
               27
                     Texas LNG Final EIS4-211 to 4-212 (describing the specifics of Sandia Zone 2
         impacts).
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         strategies for LNG operations should focus on approaches dealing with both vapor
         dispersion and fire hazards” and “should include incident management and emergency
         management and emergency response measures, such as ensuring areas of refuge (e.g.,
         enclosed areas, buildings) are available, development of community warning signals, and
         community education programs to ensure persons know what precautions to take.”

                Sandia indicates Zone 3 represents “risks and consequences to people and property
         of an accidental LNG spill over water are minimal” and radiant heat “poses minimal risks
         to public safety and property.” Zone 3 is based upon the dispersion distance to
         flammable vapors under worst-case wind conditions.28 In the rare circumstance that the
         flammable vapors are not ignited until later, there could be flash fires or explosions
         depending on congestion, confinement, and ignition strength and location. Subsequent
         pool fires that would be demarked from the Zone 1 and 2 fire hazard distances, Sandia
         concludes that for accidental Zone 3 impacts, “risk reduction and mitigation strategies
         can be significantly less complicated or extensive” and “should concentrate on incident
         management and emergency response measures that are focused on dealing with vapor
         cloud dispersion . . . ” such as ensuring “areas of refuge are available, and community
         education programs . . . to ensure that persons know what to do in the unlikely event of a
         vapor cloud.” Sandia makes similar recommendations for the Zones of Concern for
         intentional acts. The modified Emergency Response Plan and Cost Sharing Plan
         Environmental Conditions 36 and 37 in Appendix A incorporate the considerations from
         the Sandia recommendations and would be consistent with the recognized and generally
         accepted good engineering practices for evacuating and sheltering in place, such as
         NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, and NFPA 475.

                As described in the final EIS, Commission staff evaluated Rio Grande’s
         application with a focus on potential hazards from within the terminal and near the site,
         including external events, which may have the potential to cause damage or failure to the
         project facilities. Based on these potential hazards, staff examined the project’s
         engineering design features that would mitigate potential hazards and any risk to safety
         and reliability.29 When reviewing an applicant’s engineering design for a project, the
         Commission requires it to be site-specific and developed to the extent that further
         detailed design would not result in significant changes to the siting considerations, basis
         of design, operating conditions, major equipment selections, equipment design
         conditions, or safety system designs. The engineering design that staff evaluated
         included: process design; mechanical design; hazard mitigation design for the spill
         containment design; spacing and plant layout design; ignition control design; hazard
         detection; emergency shutdown and depressurization system design; hazard control

                28
                     Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 3 impacts).
                29
                     Id. at 4-211 to 4-244.
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        design; passive cryogenic and fire protection design; firewater system design;
        geotechnical and structural design, including natural hazards design; and onsite and
        offsite emergency response plans.30

               To analyze the reliability and safety of these designs, staff considered the
        occurrence and likelihood of potential hazards and the likely severity of consequences
        based on past incidents and validated hazard modeling. As part of its review, staff
        recommended 93 mitigation measures in the final EIS, which were adopted as conditions
        in the Authorization Order.31 In addition to the earlier review, staff reevaluated the
        potential impacts along the LNG marine vessel transit route and at the LNG terminal as
        described above.32 This review resulted in modifications to Environmental Conditions 53
        and 54 from the Authorization Order related to emergency response and cost sharing
        plans in order to further mitigate potential offsite risks.33 Based on these reviews,
        Commission staff determined that the risk (i.e., likelihood and consequence) of accidental
        and intentional events would be less than significant with implementation of the proposed
        safety and security recommendations that further enhance the safety and security
        measures above what is required at the LNG terminal by PHMSA regulations under 49
        C.F.R. § 193 and USCG regulations under 33 C.F.R. Part 127 and 33 C.F.R. Part 105,
        and those required for the LNG marine vessel by USCG regulations under 33 C.F.R. Part
        104 and 46 C.F.R. Part 154.

                The Energy Policy Act of 2005 requires LNG terminal operator’s Emergency
        Response Plan be developed in consultation with the USCG and State and local agencies
        and be approved by the commission prior to final approval to begin construction. To
        satisfy this requirement, this order modifies Environmental Conditions 36 and 37 in
        Appendix A of this order, that prior to construction of final design, Texas LNG shall file
        with the Secretary a revised Emergency Response Plan (ERP), including evacuation and
        any sheltering and re-entry, a request for review and written approval by the Office of
        Energy Projects Director or his designee. The ERP must be developed and coordinated
        with the USCG; state, county, and local emergency planning groups; fire departments;
        state and local law enforcement; and other appropriate federal agencies. This plan must
        be consistent with recommended and good engineering practices, as defined in NFPA
        1600, NFPA 1616, NFPA 1620, NFPA 470, NFPA 475, or approved equivalents, and
        based on potential impacts and onsets of hazards from accidental and intentional events

               30
                    Id. (detailing staff’s evaluation of the project’s engineering design).
               31
                    Authorization Order, 169 FERC ¶ 61,130 at Env’t Conditions 31-125.
               32
                    See supra at C-19 & C-20.
               33
                    See supra Order on Remand and Amending Certificate at P 64.
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        along the LNG marine vessel route and potential impacts and onset of hazards from
        accidental and intentional events at the LNG terminal, including but not limited to a
        catastrophic failure of the largest LNG tank. The plan must also address any special
        considerations and pre-incident planning for infrastructure and public with access and
        functional needs and must include at a minimum:

           a. materials and plans for periodic dissemination of public education and training
              materials in English and Spanish for potential hazards and impacts, identification
              of potential hazards, and steps for public notification, evacuation, and shelter in
              place within any transient hazard areas along the marine vessel route, and within
              LNG terminal hazard areas;
           b. plans to competently train emergency responders required to effectively and safely
              respond to hazardous material incidents including, but not limited to LNG fires
              and dispersion;
           c. plans to competently train emergency responders to effectively and safely
              evacuate or shelter public within transient hazard areas along the marine vessel
              route, and within hazard areas from LNG terminal;
           d. designated contacts with federal, state and local emergency response agencies
              responsible for emergency management and response within any transient hazard
              areas along the marine vessel route, and within hazard areas from LNG terminal;
           e. scalable procedures for the prompt notification of appropriate local officials and
              emergency response agencies based on the level and severity of potential
              incidents;
           f. scalable procedures for mobilizing response and establishing a unified command,
              including identification, location, and design of any emergency operations centers
              and emergency response equipment required to effectively and safely to respond
              to hazardous material incidents and evacuate or shelter public within transient
              hazard areas along the marine vessel route, and within LNG terminal hazard areas;
           g. scalable procedures for notifying public, including identification, location, design,
              and use of any permanent sirens or other warning devices required to effectively
              communicate and warn the public prior to onset of debilitating hazards within any
              transient hazard areas along the LNG marine vessel route and within hazard areas
              from LNG terminal;
           h. scalable procedures for evacuating the public, including identification, location,
              design, and use of evacuation routes/methods and any mustering locations
              required effectively and safely evacuate public within any transient hazard areas
              along the LNG marine transit route and within hazard areas from LNG terminal;
              and
           i. scalable procedures for sheltering the public, including identification, location,
              design, and use of any shelters demonstrated to be needed and demonstrated to
              effectively and safely shelter public prior to onset of debilitating hazards within
              transient hazard areas that may better benefit from sheltering in place (i.e., those
              within Zones of Concern 1 and 2), along the route of the LNG marine vessel and
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               within hazard areas that may benefit from sheltering in place (i.e., those within
               areas of 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats from fires with
               farthest impacts, including from a catastrophic failure of largest LNG tank) of the
               LNG terminal.

                Environmental Condition 36 requires Texas LNG to notify Commission staff of all
         planning meetings in advance and to report progress on the development of its
         Emergency Response Plan at 3-month intervals.

                 The Energy Policy Act of 2005 requires LNG terminal operators develop a cost-
         sharing plan to reimburse direct costs to state and local agencies. To satisfy this
         requirement, Environmental Condition No. 37 requires Texas LNG to provide a Cost
         Sharing Plan that includes sustained funding of any requirement or resource gap analysis
         identified above to be needed and to effectively and safely evacuate and shelter public
         and required to effectively and safely respond to hazardous material incidents. Once
         submitted by Texas LNG, we would evaluate the revised Emergency Response Plan and
         Cost Sharing Plan in accordance with recommended and good engineering practices such
         as, but not limited to, NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470 and NFPA 475,
         or approved equivalents.

                Based on our preliminary analysis of the hazards from the LNG facilities and
         along the LNG marine vessel route and the Environmental Conditions set forth in the
         Authorization Order and modified Environmental Conditions herein, Texas LNG must
         provide additional information, for review and approval, on development of emergency
         response plans prior to construction of final design. Texas LNG will also have to file
         three dimensional drawings, for review and approval, under the Environmental
         Condition 41 of the Authorization Order that demonstrate there is a sufficient number of
         access and egress locations at the LNG terminal. Texas LNG is also required under
         Environmental Condition 36 to coordinate with local, state, and federal agencies on the
         development of an emergency response plan and cost sharing plan. Texas LNG has
         provided and must continue to provide periodic updates on the development of these
         plans for review and approval, and ensure they are in place prior to introduction of
         hazardous fluids. In addition, the Texas LNG Project will be subject to regular
         inspections throughout the life of the facility and will continue to require Texas LNG to
         file updates to the Emergency Response Plan.
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                   Docket No.       CP16-116-002

                                               (April 21, 2023)

         PHILLIPS, Chairman, concurring:

                 I concur in today’s orders.1 In Vecinos para el Bienestar de la Comunidad
         Costera v. FERC,2 the U.S. Court of Appeals for the District of Columbia Circuit held
         that “the Commission's analyses of the [Rio Bravo and Texas LNG projects’] impacts on
         climate change and environmental justice communities were deficient,” and directed the
         Commission on remand to “revisit its determinations of public interest and convenience
         under Sections 3 and 7 of the NGA” after adequately considering those issues. With
         today’s order, we have provided a full response to both deficiencies identified by the
         Court.

               First, with respect to climate change, the Court held that the Commission did not
         adequately respond to arguments regarding why it should deploy the Social Cost of
         Carbon.3 In response, consistent with recent precedent, we have included the Social Cost
         of Carbon figures in today’s order.

                 Second, with respect to environmental justice, the Court held that the Commission
         did not adequately explain its method for identifying environmental justice communities
         potentially affected by the projects. In response, we have conducted a full review of the
         projects’ impacts on environmental justice communities. Throughout 2022, Commission
         staff issued multiple data requests to gather information on the projects’ potential impacts
         on environmental communities with 50 kilometers of the facilities. In addition, we
         provided all stakeholders an opportunity to comment on the information submitted in
         those data requests, including what that information meant for environmental justice
         communities. While I recognize that certain of my colleagues would have preferred more
         process or less, I believe that the record assembled throughout the last year is an
         appropriate middle ground that represents an adequate basis to fully consider the issues
         the Court remanded to us in Vecinos nearly two years ago.


                1
                 I enter the same concurrence in this case as Rio Grande LNG, LLC, 183 FERC ¶
         61,046 (2023).
                2
                    6 F.4th 1321, 1331 (D.C. Cir. 2021).
                3
                    Id. at 1328-30.
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                 And we did just that. Today’s order conducts a full environmental justice
         examination using our current methods, which are consistent with EPA and CEQ
         guidance. As part of that investigation, and in direct response to the Court, we identified
         all environmental justice communities within 50 kilometers of the projects, as opposed to
         just those within the 2-mile radius considered in the initial orders.4 We then analyzed
         each project’s impacts on affected EJ communities. As part of that full examination and
         due to required mitigation, we affirmed our earlier conclusion that the projects’ impacts
         would be less than significant.

                To that point, today’s order takes an unprecedented and bipartisan step to protect
         environmental justice communities from potential concerns about the projects’ effects on
         air quality. Because portions of the projects will enter service before construction is
         entirely completed, there is the potential that those overlapping activities could, in
         connection with other background emissions, contribute to an exceedance of the National
         Ambient Air Quality Standards (NAAQS) for certain pollutants. To mitigate that
         concern, the Commission is, for the first time, sua sponte, requiring the projects’
         sponsors to file a plan to ensure that the overlapping construction and operation of project
         do not cause any exceedance of the NAAQS. That measure allows the Commission to
         conclude that the projects will not have any significant air quality impacts on
         environmental justice communities.

                In addition, at a broader level, this mitigation illustrates how the Commission is
         making progress on the critically important issue of cumulative impacts. At the
         Commission’s March 29, 2022 Roundtable on Environmental Justice and Equity in
         Infrastructure Permitting, we heard from several stakeholders, including community
         groups, about the importance of considering cumulative impacts—i.e., not just the air
         emissions directly caused by a particular project, but also those emissions in conjunction
         with the emissions from other sources within the region. Today’s order takes a critical
         step toward addressing that concern by requiring that the project sponsors develop a plan
         to ensure that incremental emissions impacts associated with these projects, on top of all
         sources, do not cause a NAAQS exceedance, thereby helping to protect communities,
         including environmental justice communities, that may venture near the projects.

                For these reasons, I respectfully concur.

                ______________________________
                Willie L. Phillips
                Chairman



                4
                  The underlying orders identified only communities within in two miles or over
         three kilometers of the facility.
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                      Docket No.    CP16-116-002

                                              (Issued April 21, 2023)

         CLEMENTS, Commissioner, dissenting:

                 I dissent from the Order1 because (1) the Commission was required to prepare a
         supplemental environmental impact statement (EIS) and its failure to do so renders the
         Order’s significance determinations unsupportable; (2) the Commission should have
         granted the requests it received to hold public meetings addressing the Commission’s
         new analyses of environmental and other impacts;2 and (3) I disagree with the Order’s
         explanation for why the Commission is not determining the significance of greenhouse
         gas (GHG) emissions associated with the Texas LNG Terminal project.3 The
         Commission’s failure to prepare a supplemental environmental impact statement (EIS)
         for the project, and to take public comment on the supplement, leaves the Commission
         with a fundamentally flawed record that cannot support a public interest determination
         for the project. I therefore dissent from the Order’s ultimate conclusion that the Texas
         LNG Terminal is not inconsistent with the public interest.4

                 In performing the expanded review of EJ impacts required by the D.C. Circuit’s
         remand decision in Vecinos,5 the Commission identified 274 additional EJ communities
         in the area around the Texas LNG Terminal that could be impacted by the project,

                1
                    Texas LNG Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Order).
                2
                    See Order at PP 12, 15.
                3
                    See id. at PP 21, 26.
                4
                    Id. at P 84.
                5
                  Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021). The Court instructed that, on remand, the Commission must explain
         why it used only a two-mile radius for its analysis of EJ impacts or use a different radius.
         Id. at 1331. The Commission correctly chose to use the 50-kilometer radius in its
         analysis on remand because that was the only rational choice given that the Commission
         uses that radius for analysis of air quality impacts. See Order at P 34 & n.86 (explaining
         50 kilometers is the distance that the U.S. Environmental Protection Agency uses for
         cumulative air modeling for major stationary sources under its Prevention of Significant
         Deterioration Program).
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         beyond the five identified in the Commission’s original analysis.. The Commission has
         not provided members of these newly identified EJ communities any meaningful
         opportunity to comment on the impacts the projects may have on them or what mitigation
         measures would help prevent or minimize any adverse impacts. For the reasons
         explained below, the Commission should have issued the new environmental and safety
         analyses included in the body and appendices of the Order as a supplemental EIS, issued
         targeted notices of the supplemental EIS to potentially affected EJ communities, and
         allowed a reasonable period for public comment on the supplemental EIS, including oral
         comments at the town hall style meetings that commenters have requested. The
         Commission’s failure to do so leaves us with an incomplete administrative record with
         respect to potential adverse impacts on newly identified EJ communities, the significance
         of those impacts, and mitigation measures to address them. In short, we lack the
         foundation for reasoned decision-making on these vital issues.

                 The National Environmental Policy Act (NEPA) requires agencies to prepare an
         EIS for “major Federal actions significantly affecting the quality of the human
         environment.”6 The Commission did so before approving the Texas LNG Terminal
         project. However, that was not enough to meet our obligations under NEPA. According
         to the Council on Environmental Quality’s (CEQ) regulations implementing NEPA, an
         agency must prepare a supplemental EIS if “there are significant new circumstances or
         information relevant to environmental concerns and bearing on the proposed action or its
         impacts.”7 Since issuing the original EIS for the Texas LNG Terminal project, and
         following the remand in Vecinos, the Commission has identified hundreds of additional
         potentially affected EJ communities. Under any reasonable interpretation of CEQ’s
         regulation, this is significant new information “relevant to environmental concerns.” For
         that reason alone, the Commission should have issued its new analyses as a supplemental
         EIS and provided an opportunity for public comment on it.8


                6
                    42 U.S.C. § 4332(2)(C).
                7
                  40 C.F.R. § 1502.9(d)(1)(ii). The Commission’s regulations implementing
         NEPA provide that the Commission will comply with CEQ’s regulations. See 18 C.F.R.
         § 380.1.
                8
                 CEQ’s regulations provide that an agency “shall prepare, publish, and file a
         supplement to a[n EIS] . . . as a draft and final statement.” 40 C.F.R. § 1502.9(3).
         Although the regulation does not say so explicitly, the only purpose for publishing a draft
         would be for the public to comment on it. Consistent with the regulation, the
         Commission’s practice is to issue a draft supplemental EIS for public comment. See,
         e.g., Magnolia LNC, LLC; Notice of Availability of the Draft Environmental Impact
         Statement for the Proposed Magnolia Production Capacity Amendment, 84 Fed. Reg.
         52,881 (Oct. 3, 2019); Florida Southeast Connection, LLC; Transcontinental Gas Pipe
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                The other reasons a supplemental EIS is required are equally plain. In the Order,
         the Commission finds that, even with Texas LNG’s proposed mitigation measures, during
         periods when construction, operation, and commissioning activities occur at the same
         time at the LNG terminal, the Clean Air Act National Air Ambient Quality Standards
         (NAAQS) may be exceeded for certain air pollutants.9 The Order imposes a new air
         pollution and monitoring condition that may prevent or reduce NAAQS violations.10
         Although I agree that imposing this condition is a beneficial step to take, I cannot
         conclude that it will be sufficient to reduce cumulative air emissions to an insignificant
         level because the condition itself is vague11 and we have had no public comment on
         whether it will be effective or what additional mitigation may be needed. The Order also
         finds that visual impacts on EJ communities would be significant.12 However, it imposes
         no new mitigation measures to minimize those impacts. These findings in the Order
         themselves indicate a supplemental EIS is necessary.

               The need for a supplemental EIS does not hinge on a definitive finding that
         environmental impacts will be significant. To the contrary, NEPA requires that an
         agency prepare an EIS where there “might” be “any” significant environmental impacts.13
         Moreover, “the decision whether to prepare a supplemental EIS is similar to the decision
         whether to prepare an EIS in the first instance.”14 Since the Commission has determined

         Line Company, LLC; Sabal Trail Transmission, LLC; Notice of Availability of the Draft
         Supplemental Environmental Impact Statement for the Southeast Market Pipelines
         Project, 82 Fed. Reg. 16,233 (Oct. 4, 2017).
               9
                   Order at PP 68, 70.
               10
                    Id. at PP 70-71.
               11
                   The new condition describes the basic components of the monitoring and
         mitigation plan that Texas LNG must file for approval, but it leaves it to the company to
         flesh out the specific monitoring protocol and corrective actions to be employed. In
         particular, the condition does not say what Texas must do in response to a NAAQS
         exceedance or how quickly it must do it. See Order, App. A, Condition 130.
               12
                    Id. at PP 80-82.
               13
                  Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
         (D.C. Cir. 2021) (quoting Grand Canyon Tr. v. FAA, 290 F.3d 339, 340 (D.C. Cir.
         2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
               14
                  Stand Up for California! v. U.S. Dep’t of the Interior, 994 F.3d 616, 628 (D.C.
         Cir. 2021) (quoting Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal
         quotation marks omitted).
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         that there may be significant air pollution and visual impacts associated with the Texas
         LNG Terminal, it was required to prepare a supplemental EIS.

                The procedures employed here run counter to NEPA’s fundamental purposes. As
         the Supreme Court has explained, the statute’s EIS requirement “ensures that the agency,
         in reaching its decision, will have available, and will carefully consider, detailed
         information concerning significant environmental impacts.” 15 NEPA’s public
         participation requirements ensure that “relevant information will be made available to the
         larger audience that may also play a role in both the decisionmaking process and the
         implementation of that decision.”16 Publishing an EIS “provides a springboard for public
         comment.”17 By failing to issue a supplemental EIS for public comment prior to today’s
         Order, the Commission deprived the public of any meaningful opportunity to participate.
         That, in turn, prevented the Commission from reflecting in its decision today essential
         information the public generally and affected EJ communities otherwise could have
         provided on the Commission’s new environmental and safety analyses.

                 Embedding the Commission’s new environmental and safety analyses in the Order
         and its appendices is no substitute for the public notice and comment process under
         NEPA. The Commission does not send out notices of its orders to the mailing list
         compiled for purposes of the original EIS process. And it certainly does not send targeted
         notices to members of newly identified EJ communities. Consequently, the hundreds of
         EJ communities potentially impacted by the Texas LNG Terminal project have no
         practical way of even discovering that they are within the project’s potential impact zone.

                 Failing to allow meaningful public participation is not just some technical error.
         Rather, public input provides the foundation for an agency’s substantive decisions. The
         procedures used here not only violated NEPA, but also undermined the Commission’s
         ability to engage in reasoned decision-making, as it is required to do under the
         Administrative Procedure Act (APA).18 That is because the Commission does not have a

                15
                     Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (emphasis added); see also Marsh, 490 U.S. at 371 (“[B]y focusing Government and
         public attention on the environmental effects of proposed agency action . . . NEPA
         ensures that the agency will not act on incomplete information, only to regret its decision
         after it is too late to correct.”) (citations omitted); 40 C.F.R. § 1500.1(a) (“The purpose
         and function of NEPA is satisfied if Federal agencies have considered relevant
         environmental information, and the public has been informed regarding the decision-
         making process.”).
                16
                     Robertson, 490 U.S. at 349.
                17
                     Id.
                18
                     5 U.S.C. § 706(2)(A); see also Motor Vehicle Mfrs. Ass’n of the U.S. v. State
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         complete record reflecting input from the hundreds of newly identified EJ communities,
         or from the public generally, on the new environmental and safety analyses.

                Even if the Commission were not legally required to issue a supplemental EIS for
         public comment, doing so would be the right way to implement the applicable Executive
         Orders (EOs) and guidance on EJ.19 These documents call for identification, analysis,
         and mitigation of impacts on EJ communities. Where agencies have identified potentially
         affected minority and/or low income communities, the identification “should trigger” an
         “enhanced outreach effort to assure that low-income and minority populations are
         engaged in public participation.”20 Section 5-5 of the 1994 EJ EO states that agencies
         “shall work to ensure that public documents, notices, and hearings relating to human
         health or the environment are concise, understandable, and readily accessible to the
         public.”21 Furthermore, the 1997 CEQ Guidance specifically instructs that agencies
         “should develop effective public participation strategies” and “overcome linguistic,
         cultural, institutional, geographic, and other barriers to meaningful participation.”22 The
         sad fact is that the Commission has made no effort to inform potentially affected EJ
         communities of its new environmental and safety analyses, let alone make the analyses

        Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (requiring that an agency’s explanation
        be a “product of reasoned decisionmaking” under the APA); Vecinos, 6 F.4th at 1330
        (“[A] petitioner may challenge an agency’s environmental justice analysis as arbitrary
        and capricious under NEPA and the APA.”); Coliseum Square Ass’n v. Jackson, 465 F.3d
        215, 232 (5th Cir. 2006) (finding an agency’s environmental justice considerations
        reviewable under the “arbitrary and capricious” standard of the APA).
                19
                 The Commission states that it complies with the relevant EOs and guidance.
         See Order at PP 28-29; see generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (1994)
         (1994 EJ EO); Presidential Memorandum, Executive Order on Federal Actions to
         Address Environmental Justice in Minority Populations and Low-income Populations, 1
         Pub. Papers 241 (Feb. 11, 1994) (1994 EJ Memo); Federal Interagency Working Group
         on Environmental Justice and NEPA Committee, Promising Practices for EJ
         Methodologies in NEPA Reviews (2016) (Promising Practices Guidance).
                20
                 Council on Envtl. Quality, Guidance for Incorporating Environmental Justice
         Concerns in EPA’s NEPA Compliance Analysis 28 (1998) (1998 CEQ Guidance).
                21
                  1994 EJ EO § 5-5(c) (emphasis added); see also 1994 EJ EO § 5-5(b) (stating
         that meeting this public accessibility standard may require, “whenever practicable and
         appropriate,” “translat[ing] crucial public documents, notices, and hearings related to
         human health or the environment for limited English speaking populations”).
                22
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 9 (1997) (1997 CEQ Guidance) (emphasis added).
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         “readily accessible” to them. Rather than implementing an “effective public participation
         strategy,” the Commission has shut the door on public participation by embedding its
         new analyses in the Order.

               I am particularly troubled that neither the general public nor the newly identified
         EJ communities will have a meaningful opportunity to comment on the Commission’s
         new air monitoring and mitigation condition or other potential mitigation measures.
         CEQ’s guidance on EJ specifically instructs that “members of the affected communities
         should be consulted” when an agency is “identifying and developing potential mitigation
         measures to address environmental justice concerns.”23

               To give credit where it is due, the Commission did provide an opportunity for
        comment on the project sponsors’ responses to certain of Commission staff’s
        environmental information requests (EIRs).24 However, there was no opportunity to
        comment on critical air modeling information used in the Commission staff’s cumulative
        air impacts analysis because that information was submitted after the comment period
        closed.25 The necessity for, and value of, allowing public comment on the new analyses
        is evinced by the fact that Vecinos para el Bienestar de la Comunidad Costera and Sierra
        Club submitted a joint comment letter identifying discrepancies in Texas LNG’s and Rio
        Grande LNG’s cumulative air impacts modeling that led staff to direct the companies to
        reconcile their analyses and submit new cumulative air impact modeling.26

                At the Commission’s March 29, 2023, Roundtable on Environmental Justice and
         Equity in Infrastructure Permitting, all Commissioners acknowledged the importance of
         appropriately addressing EJ concerns in our proceedings. In this of all cases, where the
         D.C. Circuit remanded our inadequate EJ analysis, we should translate our good
         intentions into action and provide EJ communities a meaningful opportunity to
         participate. Considering our discussion at the Roundtable of how to facilitate EJ
         communities’ full participation, it is especially disheartening that the Order rejects



               23
                    1998 CEQ Guidance at 36.
               24
                    See Order at P 11.
               25
                  See id. at P 77 (“Texas LNG filed [its updated air quality impact] model on
         January 30, 2023.”), P 11 (“[I]nitial comments were due no later than October 21, 2022,
         and reply comments no later than November 4, 2022.”).
               26
                  See id. at P 74; see also Rio Grande LNG, LLC, 183 FERC ¶ 61,046, at PP 87,
         137 (2023) (describing Sierra Club’s joint comment letter that pointed out the modeling
         discrepancies between Rio Grande and Texas LNG).
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         requests to hold public meetings, with Spanish translation, to hear communities’ concerns
         about the project and our new analyses.27

                 I am sensitive to the comments in the record, from the project sponsor and others,
         that the Commission has unduly delayed its response to the court’s remand in Vecinos
         and that the delay may postpone benefits the projects offer, including local employment
         opportunities. More generally, I desire to efficiently process applications for approval of
         natural gas and LNG projects, as well as the Commission’s response to any court
         directives relating to project approvals. No member of the current Commission had
         control over the process for, or timing of, the Commission’s response to the Vecinos
         court’s remand. The question now is what to do with the hand we have been dealt.
         Taking procedural shortcuts is the wrong answer. In failing to meet its statutory and
         regulatory obligations, the Commission invites litigation challenging the Order,
         potentially leading to further delay. For the sake of all stakeholders, including project
         sponsors and communities impacted by our decisions, we must do better.

                Finally, I dissent from the Commission’s explanation of why it cannot determine
         the significance of GHG emissions associated with the Texas LNG Terminal.28 This
         section of the Order could be interpreted as the Commission’s definitive conclusion that
         the Social Cost of GHGs protocol is inherently unsuitable for determining the
         significance of GHG emissions associated with natural gas and LNG infrastructure
         projects. Moreover, the Order suggests that there is no other “currently scientifically
         accepted method that would enable the Commission to determine the significance of
         reasonably foreseeable GHG emissions.”29 In other recent orders, the Commission has
         explained that it is not determining the significance of GHG emissions because the issue
         of how to do so is under consideration in the docket for the Commission’s draft GHG
         Policy Statement.30 This Order does not say that. Readers therefore might wonder
         whether this Order has effectively decided some of the central issues raised in the GHG
         Policy Statement docket.

                I do not know whether the Social Cost of GHGs protocol or another tool can or
         should be used to determine significance. That is because the Commission has not
         seriously studied the answer to that question. Rather, the majority has simply decided the
         method does not work, with no explanation of why the Commission departs from the

                27
                     See id. at P 15.
                28
                     See id. at PP 20-21, 26.
                29
                     Id. at P 21.
                30
                  See, e.g., Transcon. Gas Pipe Line Co., 182 FERC ¶ 61,006, at P 73 & n.174
         (2023); Columbia Gas Transmission, LLC, 182 FERC ¶ 61,171, at P 46 & n.93 (2023).
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         approach so recently taken in other similar orders.31 We have yet to address the
         voluminous record in the GHG Policy Statement docket, including comments that speak
         to this question. What I do know is that we should decide the important unresolved
         issues relating to our assessment of GHG emissions through careful deliberation in a
         generic proceeding with full transparency.

               For the foregoing reasons, I respectfully dissent.



         ________________________
         Allison Clements
         Commissioner




               31
                  To depart from prior precedent without explanation violates the Administrative
         Procedure Act. See, e.g., W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C. Cir.
         2014) (“[T]he Commission cannot depart from [prior] rulings without providing a
         reasoned analysis.”) (citations omitted).
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